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                         CASE NO. 20-15029

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT



   CENTURY INDEMNITY COMPANY, as successor to CCI
 Insurance Company as successor to Insurance Company of North
America; ALLIANZ UNDERWRITERS INSURANCE COMPANY;
   CHICAGO INSURANCE COMPANY; FIREMAN'S FUND
     INSURANCE COMPANY; and THE CONTINENTAL
                 INSURANCE COMPANY

                             Appellants,

                                  v.

  CALIFORNIA DEPARTMENT OF TOXIC SUBSTANCES
CONTROL and the TOXIC SUBSTANCES CONTROL ACCOUNT

                            Respondents.



          Appeal From The United States District Court,
 Eastern District of California, Case No. 2:14-cv-00595-WBS-EFB,
                       Hon. William B. Shubb



            APPELLANTS' EXCERPTS OF RECORD
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                                 ER-721
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                                 ER-740
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                                 ER-744
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                                 ER-746
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                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA




                                                            CLERKS CERTIFICATE OF
CALIFORNIA DEPARTMENT OF TOXIC                                ENTRY OF DEFAULT
SUBSTANCES CONTROL, ET AL.,
                                                             2:14−CV−00595−WBS−EFB

                    v.

JIM DOBBAS, INC., ET AL.,




TO ALL COUNSEL:

    By application of Plaintiff and it appearing that the defendant having been duly served
with process as appears from the record and papers on file herein; and having failed to
appear, plead or answer Plaintiff's complaint within the time allowed by law; the default of
the following Defendant(s) is/are hereby entered:

   Pacific Wood Preserving

Counsel is/are referred to Rule 55(b), of the Federal Rules of Civil Procedure, and Local
Rules 302(c)(19) and 230. If there is more then one defendant in this case, counsel are
further referred to Fed. R. Civ. P. 54(b).


                                                  IN TESTIMONY WHERE OF, I have
                                                  hereunto subscribed my name and affixed
                                                  the seal of the United States District Court
                                                  for the Eastern District of California, on
                                                  June 2, 2014.

                                                  MARIANNE MATHERLY
                                                  CLERK OF COURT

                                                  By: /s/ G. Michel

                                                      Deputy Clerk




                                                 ER-747
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                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA




                                                            CLERKS CERTIFICATE OF
CALIFORNIA DEPARTMENT OF TOXIC                                ENTRY OF DEFAULT
SUBSTANCES CONTROL, ET AL.,
                                                             2:14−CV−00595−WBS−EFB

                    v.

JIM DOBBAS, INC., ET AL.,




TO ALL COUNSEL:

    By application of Plaintiff and it appearing that the defendant having been duly served
with process as appears from the record and papers on file herein; and having failed to
appear, plead or answer Plaintiff's complaint within the time allowed by law; the default of
the following Defendant(s) is/are hereby entered:

   Continental Rail, Inc.

Counsel is/are referred to Rule 55(b), of the Federal Rules of Civil Procedure, and Local
Rules 302(c)(19) and 230. If there is more then one defendant in this case, counsel are
further referred to Fed. R. Civ. P. 54(b).


                                                  IN TESTIMONY WHERE OF, I have
                                                  hereunto subscribed my name and affixed
                                                  the seal of the United States District Court
                                                  for the Eastern District of California, on
                                                  June 2, 2014.

                                                  MARIANNE MATHERLY
                                                  CLERK OF COURT

                                                  By: /s/ G. Michel

                                                      Deputy Clerk




                                                 ER-748
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 9   Substances Control and the Toxic Substances
     Control Account
10

11                           IN THE UNITED STATES DISTRICT COURT
12                        FOR THE EASTERN DISTRICT OF CALIFORNIA
13                                    SACRAMENTO DIVISION
14

15

16   CALIFORNIA DEPARTMENT OF TOXIC                      Case No.
     SUBSTANCES CONTROL and the TOXIC
17   SUBSTANCES CONTROL ACCOUNT,                      COMPLAINT FOR RECOVERY OF
                                                      RESPONSE COSTS; DECLARATORY
18                                        Plaintiffs, RELIEF; INJUNCTIVE RELIEF;
                                                      TREBLE DAMAGES; AND CIVIL
19                 v.                                 PENALTIES
20                                                       (Comprehensive Environmental Response,
     JIM DOBBAS, INC., a California                      Compensation, and Liability Act
21   corporation; CONTINENTAL RAIL, INC.,                (“CERCLA”), 42 U.S.C. § 9607(a) and
22   a Delaware corporation; DAVID VAN                   9613(g)(2), and supplemental state law
     OVER, individually; PACIFIC WOOD                    claims)
23   PRESERVING, a dissolved California
     corporation; and WEST COAST WOOD
24   PRESERVING, LLC, a Nevada limited
     liability company,
25
                                       Defendants.
26

27

28
                                                     1
                                                                                      COMPLAINT
                                         ER-749
     Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 142 of 231
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 1          Plaintiffs, the California Department of Toxic Substances Control (“Department”) and the
 2   Toxic Substances Control Account (together “Plaintiffs”), allege as follows:
 3                                             JURISDICTION
 4          1.   This Court has jurisdiction under 28 U.S.C. sections 1331 and 1367, and under
 5   section 113(b) of the Comprehensive Environmental Response, Compensation, and Liability Act
 6   (“CERCLA”), 42 U.S.C. section 9613(b).
 7                                                  VENUE
 8          2.   Venue is proper in this district under 42 U.S.C. section 9613(b) and 28 U.S.C. section
 9   1391(b), because the releases and threatened releases of hazardous substances into the
10   environment that are at issue occurred in this judicial district.
11                                  INTRA-DISTRICT ASSIGNMENT
12          3.   Under Local Rule 120(d), Plaintiffs are filing this action in the Sacramento Division
13   of the Eastern District because it arose in Solano County.
14                                   STATEMENT OF THE ACTION
15          4.   Plaintiffs make a claim against Defendants under section 107(a) of CERCLA, 42
16   U.S.C. section 9607(a), for the recovery of response costs and interest on such response costs that
17   Plaintiffs have incurred in connection with releases and threatened releases of hazardous
18   substances, including arsenic, chromium, and copper, at, beneath, and/or from the approximately
19   7.5 acre property located northwest of the intersection of A Street and Holdener Road in the
20   community of Elmira, Solano County, California. The property has a street address of 147 A
21   Street, Elmira, California 95625, and is identified by Solano County Assessor’s Parcel Number(s)
22   142-010-130, 142-010-140, and 142-042-010. The property, and the areal extent of the hazardous
23   substances contamination that is, or has been, present at or has extended from the property, are
24   referred to herein as “the Site.”
25          5.   Plaintiffs further make a claim for declaratory relief, under 28 U.S.C. section 2201
26   and section 113(g)(2) of CERCLA, 42 U.S.C. section 9613(g)(2), for a declaratory judgment that
27   each of the Defendants is jointly and severally liable to Plaintiffs for future response costs
28
                                                        2
                                                                                              COMPLAINT
                                            ER-750
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 1   incurred by the Plaintiffs in responding to releases and threatened releases of hazardous
 2   substances at, beneath, and/or from the Site.
 3           6.   Plaintiffs also seek injunctive relief, treble damages, and civil penalties against
 4   certain Defendants pursuant to a supplemental state law claim under Chapter 6.8 of Division 20
 5   of the California Health and Safety Code, for the Defendants’ failure to comply with an Imminent
 6   or Substantial Endangerment Determination Order and Remedial Action Order that the
 7   Department issued to those Defendants, concerning the releases and threatened releases of
 8   hazardous substances referenced above.
 9                                               PLAINTIFFS
10           7.   The Department is a public agency of the State of California, organized and existing
11   under California Health and Safety Code section 58000 et seq. The Department is responsible
12   under state law for determining whether there has been a release and/or threatened release of a
13   hazardous substance into the environment and for responding to releases and/or threatened
14   releases of a hazardous substance into the environment.
15           8.   The Toxic Substances Control Account is an account within the State of California
16   General Fund. California Health and Safety Code section 25173.6 establishes the account, and
17   the director of the Department administers it. Under California Health and Safety Code section
18   25361(a), the account shall be a party in any action for recovery of response costs or expenditures
19   incurred from the account under Chapter 6.8 of Division 20 of the California Health and Safety
20   Code.
21                                              DEFENDANTS
22           9.   Defendant Jim Dobbas, Inc. (“Dobbas”) is a California corporation, with its principal
23   place of business in Placer County, California. It owned an undivided fifty percent interest in the
24   Site from on or about March 20, 1997 to on or about February 11, 2011, and conducted business
25   operations there during all or part of that time.
26           10. Defendant Continental Rail, Inc. (“CRI”) is a Delaware corporation. Under Delaware
27   Code, title 8, section 510, its charter is presently void, and all powers conferred by Delaware law
28   on the corporation are presently inoperative. It owned an undivided fifty percent interest in the
                                                       3
                                                                                               COMPLAINT
                                            ER-751
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 1   Site from on or about March 20, 1997 to on or about February 11, 2011, and conducted business
 2   operations there during all or part of that time.
 3          11. Defendant David van Over (“Van Over”) is a citizen of California residing in Solano
 4   County, California. He currently owns and operates the Site.
 5          12. Defendant Pacific Wood Preserving (“PWP”) is a dissolved California corporation. It
 6   conducted business operations at the Site from about 1972 to on or about September 12, 1979,
 7   and owned it from 1977 to on or about September 12, 1979.
 8          13. Defendant West Coast Wood Preserving, LLC (“West Coast Wood”) is a Nevada
 9   limited liability company, with its principal place of business in Kern County, California. It is a
10   successor to Defendant PWP, as evidenced by the following facts:
11              •       PWP was incorporated in 1972.
12              •       The sole or primary shareholder of PWP was non-party Richard F. Jackson
13                     (deceased March 2012).
14              •       Mr. Jackson elected to wind up and dissolve PWP on or about December 30,
15                     1979.
16              •       Before PWP’s dissolution, Mr. Jackson caused the formation of what is now
17                     West Coast Wood Preserving, LLC, which was originally organized as Pacific
18                     Wood Preserving of Bakersfield Inc. (“PWP-Bakersfield”), in October 1978.
19              •       On information and belief, Mr. Jackson was the sole or primary shareholder of
20                     PWP-Bakersfield until his death in March 2012, just as he was the sole or
21                     primary shareholder of PWP.
22              •       Mr. Jackson was a director of both PWP and PWP-Bakersfield.
23              •       Mr. Jackson was the President of PWP during most of all of its corporate
24                     existence, and was also the President of PWP-Bakersfield from at least
25                     September 1980 until his death.
26              •       In 1979, PWP-Bakersfield (now West Coast Wood) started business operations
27                     on property that PWP owned in Bakersfield, California, and has operated at
28                     that location through the present.
                                                      4
                                                                                             COMPLAINT
                                            ER-752
     Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 145 of 231
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 1               •    Since 1979, PWP-Bakersfield (now West Coast Wood) has engaged in
 2                    substantially the same wood preserving business at a facility in Bakersfield,
 3                    California as PWP conducted at the Site in Elmira, California until 1979.
 4               •    PWP conveyed its Bakersfield, California property directly to PWP-Bakersfield
 5                    in September 1981 for unknown consideration.
 6               •    PWP’s transfer of its Bakersfield, California property to PWP-Bakersfield
 7                    occurred almost two years after PWP certified that it had dissolved.
 8               •    PWP-Bakersfield (now West Coast Wood), which incorporated in October
 9                    1978, has stated in company brochures and elsewhere that it has operated since
10                    1972, the year of PWP’s incorporation.
11               •    PWP-Bakersfield (West Coast Wood) has stated on its website that the
12                    proceeds from PWP’s sale of the assets of its facility in Elmira, California were
13                    used to start the PWP-Bakersfield facility in Bakersfield, California.
14               •    On or about November 19, 2013, PWP-Bakersfield filed Articles of Conversion
15                    with the Nevada Secretary of State that provided for the conversion of PWP-
16                    Bakersfield to West Coast Wood.
17               •    The Articles of Conversion attached a plan of conversion stating that all debts,
18                    liabilities, and obligations of PWP-Bakersfield “shall be assumed and continue
19                    as debts, liabilities, and obligations” of West Coast Wood.
20                                   GENERAL ALLEGATIONS
21           14. Defendant PWP conducted wood preserving operations at the Site from
22   approximately 1972 through on or about September 12, 1979.
23           15. From on or about September 12, 1979 through approximately 1982, non-party Collins
24   & Aikman Products, LLC, a cancelled Delaware limited liability company under Delaware Code,
25   title 6, section 18-203 (formerly known as Collins & Aikman Products Co., and the successor by
26   merger to The Wickes Corporation) (“C&A Products”) conducted wood preserving operations at
27   the Site.
28
                                                     5
                                                                                             COMPLAINT
                                         ER-753
     Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 146 of 231
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 1          16. At various times since 1972, hazardous substances within the definition of section
 2   101(14) of CERCLA, 42 U.S.C. section 9601(14), were released into the environment at and from
 3   the Site within the meaning of section 101(22) of CERCLA, 42 U.S.C. section 9601(22). These
 4   hazardous substances included arsenic, chromium, and copper, which were constituents of wood
 5   preserving chemicals used at the Site.
 6          17. From the 1980’s through 2005, C&A Products took various actions under oversight
 7   of the Department and its predecessor agency to address environmental contamination at, around,
 8   and/or beneath the Site. Those actions included, among other things, soil excavation, installing
 9   an asphalt cap over contaminated soils, constructing a building and a drainage system over
10   another contaminated area of the Site, installing and operating a groundwater extraction and
11   treatment system, and groundwater monitoring.
12          18. On or about October 27, 1995, the Department and C&A Products recorded a
13   Covenant to Restrict Use of Property (“Land Use Covenant”) concerning the Site under
14   California Health and Safety Code sections 25355.5 and 25356.1 that restricted the permissible
15   uses of the Site based on environmental conditions there. A copy of the Land Use Covenant is
16   attached as Exhibit A and incorporated by this reference.
17          19. On or about March 20, 1997, C&A Products sold the Site to Defendants Dobbas and
18   CRI, while continuing to take actions to address environmental contamination at, around, and/or
19   beneath the Site.
20          20. On or about May 17, 2005, C&A Products (then known as Collins & Aikman
21   Products Co.) filed a Chapter 11 petition in the United States Bankruptcy Court for the Eastern
22   District of Michigan, Case No. 05-55932. That bankruptcy case was jointly administered with the
23   bankruptcy cases of numerous other debtors under Case No. 05-55927.
24          21. In July or August 2005, while in Chapter 11 bankruptcy proceedings, C&A Products
25   stopped operating the groundwater extraction and treatment system, and stopped taking other
26   action to address contamination at, around, and/or beneath the Site. The Department was verbally
27   notified that C&A Products had stopped operating the groundwater extraction and treatment
28   system in early November 2005.
                                                     6
                                                                                           COMPLAINT
                                          ER-754
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 1          22. In 2006, the Department requested that Defendants Dobbas and CRI, the then-owners
 2   and operators of the Site, resume such actions to address contamination.
 3          23. In December 2007, Defendant Dobbas agreed to perform certain actions at the Site,
 4   which included limited maintenance of the asphalt cap and repair of a roof drainage system for a
 5   building over an area that was a source of contamination at the Site. However, Defendants
 6   Dobbas and CRI failed and refused to perform most of the actions formerly conducted by C&A
 7   Products to address contamination at, around, and/or beneath the Site.
 8          24. On or about October 16, 2008, CRI filed a Chapter 7 petition in the United States
 9   Bankruptcy Court for the Eastern District of California (Sacramento), Case No. 08-34986 (closed
10   December 7, 2010).
11          25. In July 2010, the Department finalized a Removal Action Workplan for the Site that
12   called for contaminated soil excavation, off-site disposal, backfilling, confirmation sampling,
13   demolition of the groundwater extraction and treatment system, and long-term groundwater
14   monitoring.
15          26. On or about February 11, 2011, Defendants Dobbas and CRI sold the Site to
16   Defendant Van Over for $2.00.
17          27. On March 16, 2011, the Department issued an Imminent or Substantial Endangerment
18   Determination Order and Remedial Action Order (“I/SE Order”) ordering Defendants Dobbas,
19   CRI, and Van Over to conduct the actions described in the Removal Action Workplan, and to
20   take other response actions. A copy of the I/SE Order is attached as Exhibit B and incorporated
21   by this reference.
22          28. Defendants Dobbas, CRI, and Van Over failed to complete the actions described in
23   the Removal Action Workplan, and to take other response actions described in the I/SE Order.
24          29. Based on the above, from November 2005 to the present, the Department has taken
25   “response” actions of the Site, as that term is defined in section 101(25) of CERCLA, 42 U.S.C.
26   section 9601(25), related the release and/or threatened release of hazardous substances at the Site.
27   The response actions included, inter alia, efforts to repair and restart the groundwater extraction
28   and treatment system, completion of a remedial investigation for site soils, preparation of the
                                                    7
                                                                                             COMPLAINT
                                           ER-755
     Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 148 of 231
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 1   Removal Action Workplan, implementation of the Removal Action Workplan in October and
 2   November 2011, groundwater monitoring, and other tasks.
 3           30. As a result of taking response actions at the Site, Plaintiffs have incurred response
 4   costs related to the release and/or threatened release of hazardous substances at, around, and/or
 5   beneath the Site.
 6           31. Plaintiffs’ unpaid costs related to the Site from November 2005 through September
 7   2013 total $2,202,176.92, exclusive of interest.
 8           32. Plaintiffs have incurred and expect to continue to incur additional response costs
 9   related to the release and/or threatened release of hazardous substances at, beneath, and/or from
10   the Site.
11                                      FIRST CLAIM FOR RELIEF
12                             (Claim for Recovery of Response Costs Pursuant to
13                             Section 107(a) of CERCLA, 42 U.S.C. § 9607(a))
14                                         (Against All Defendants)
15           33. Plaintiffs incorporate the allegations in each of the preceding paragraphs as though
16   fully set forth herein.
17           34. The Site is a “facility” within the meaning of section 101(9) of CERCLA, 42 U.S.C.
18   section 9601(9).
19           35. Each Defendant is a “person,” within the meaning of section 101(21) of CERCLA, 42
20   U.S.C. section 9601(21).
21           36. The Department is a “State” for purposes of recovery of response costs under section
22   107(a) of CERCLA, 42 U.S.C. section 9607(a). Under this section, the Department may also
23   recover interest on response costs incurred.
24           37. Each of the Defendants is an “owner” and/or “operator” of the Site, or was an
25   “owner” and/or “operator” of the Site “at the time of disposal of a[] hazardous substance” there,
26   as those terms are used in section 107(a) of CERCLA, 42 U.S.C. section 9607(a).
27           38. Plaintiffs have incurred costs in responding to the release or threatened release of
28   hazardous substances at or from the Site in a manner that satisfies the requirements of Section
                                                     8
                                                                                             COMPLAINT
                                            ER-756
     Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 149 of 231
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 1   107(a)(4) of CERCLA, 42 U.S.C. section 9607(a)(4), in that the costs arose from activities that
 2   are not, and have not been, inconsistent with the applicable requirements of the National
 3   Contingency Plan, 40 C.F.R. Part 300.
 4           39. Each of the Defendants is jointly and severally liable, without regard to fault, under
 5   section 107(a) of CERCLA, 42 U.S.C. section 9607(a), for Plaintiffs’ costs incurred in response
 6   to the release or threatened release of hazardous substances at or from the Site.
 7                                     SECOND CLAIM FOR RELIEF
 8                             (Declaratory Relief Pursuant to Section 113(g)(2) of
 9                                     CERCLA, 42 U.S.C. § 9613(g)(2))
10                                          (Against All Defendants)
11           40. Plaintiffs incorporate the allegations of each of the preceding paragraphs as though
12   fully set forth herein.
13           41. Under section 113(g)(2) of CERCLA, 42 U.S.C. section 9613(g)(2), Plaintiffs are
14   entitled to a declaratory judgment that each of the Defendants is jointly and severally liable in any
15   subsequent action or actions by the Plaintiffs to recover any further costs incurred in response to
16   the release and/or threatened release of hazardous substances into the environment at or from the
17   Site.
18                                      THIRD CLAIM FOR RELIEF
19           (Failure and Refusal to Comply with Imminent or Substantial Determination Order
20                and Remedial Action Order – California Health and Safety Code sections
21                                 25355.5, 25358.3, 25359, 25359.2, 25367)
22                             (Against Defendants Dobbas, CRI, and Van Over)
23           42. Plaintiffs incorporate the allegations of each of the preceding paragraphs as though
24   fully set forth herein.
25           43. The Department issued the I/SE Order to Defendants Dobbas, CRI, and Van Over
26   under, inter alia, Chapter 6.8 of Division 20 of the California Health and Safety Code, specifically
27   sections 25355.5 and 25358.3.
28
                                                        9
                                                                                             COMPLAINT
                                             ER-757
     Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 150 of 231
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 1          44. California Health and Safety Code section 25358.3(f) provides that upon the failure
 2   of any person to comply with any order issued under sections 25355.5 or 25358.3, the director
 3   may request the Attorney General to petition for the issuance of a temporary restraining order or
 4   preliminary or permanent injunction requiring that person to comply with the order.
 5          45. California Health and Safety Code 25359(a) provides that any person liable for a
 6   release or threatened release of hazardous substances who “fails, without sufficient cause…to
 7   properly provide a removal or remedial action upon order of the director…pursuant to Section
 8   25358.3,” is liable for “damages equal to three times the…costs incurred by the state account…as
 9   a result of the failure to take proper action.” The referenced “state account” is Plaintiff Toxic
10   Substances Control Account.
11          46. California Health and Safety Code section 25359.2 provides that any person who
12   does not comply with an order under section 25355.5 or 25358.3 without sufficient cause shall be
13   subject to a civil penalty of not more than twenty-five thousand dollars ($25,000) for each day of
14   noncompliance.
15          47. California Health and Safety Code section 25367(c) provides that any person who
16   refuses, without sufficient cause, any activity authorized under section 25358.1 or 25358.3 is
17   subject to a civil penalty not to exceed twenty-five thousand dollars ($25,000) for each separate
18   violation, or for each day of a continuing violation.
19          48. Defendants Dobbas, CRI, and Van Over have failed and refused, without sufficient
20   cause, to comply with the I/SE Order, including, without limitation, as follows:
21              •      Defendants failed and refused to restore groundwater monitoring at the Site, as
22                     specified in section 5.1 of the I/SE Order.
23              •      Defendants failed and refused to implement the Removal Action Workplan for
24                     the Site, as specified in section 5.2 of the I/SE Order.
25              •      Defendants failed and refused to conduct operation and maintenance activities,
26                     including maintenance of the asphalt cap, as specified in section 5.4 of the I/SE
27                     Order.
28
                                                      10
                                                                                             COMPLAINT
                                           ER-758
     Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 151 of 231
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 1                 •     Defendants failed and refused to demonstrate and maintain financial assurance
 2                      for operation and maintenance and monitoring, as specified in section 5.9 of the
 3                      I/SE Order.
 4                 •     Defendant Van Over has used and is using the Site as a residence, in violation
 5                      of section 5.3 of the I/SE Order and the Land Use Covenant.
 6          49. Plaintiffs have incurred costs as a result of the failure of Defendants Dobbas, CRI,
 7   and Van Over to take proper action as directed in the I/SE Order.
 8          50. The director of the Department has requested the Attorney General to petition for
 9   injunctive and other relief concerning the failure and refusal of Defendants Dobbas, CRI, and Van
10   Over to comply with the I/SE Order.
11                                         PRAYER FOR RELIEF
12         Plaintiffs pray for relief as follows:
13         A.      For a judgment that each Defendant is jointly and severally liable without regard to
14   fault to the Department under section 107(a) of CERCLA, 42 U.S.C. section 9607(a), for all
15   response costs incurred by the Plaintiffs as a result of the release and threatened release of
16   hazardous substances from the Site, in an amount to be proven at trial, but at least $2,202,176.92;
17         B.      For interest on the above sums from each Defendant as provided under section 107(a)
18   of CERCLA, 42 U.S.C. section 9607(a);
19         C.      For a declaratory judgment that each Defendant is jointly and severally liable without
20   regard to fault to the Plaintiffs under section 113(g)(2) of CERCLA, 42 U.S.C. section 9613(g)(2),
21   for all future response costs incurred by the Plaintiffs as a result of the release and threatened
22   release of hazardous substances at and/or from the Site;
23         D.      For an injunction ordering Defendants Jim Dobbas, Inc., Continental Rail, Inc., and
24   David van Over to comply with the I/SE Order, including, without limitation, by performing
25   groundwater monitoring and operation and maintenance activities, including asphalt cap
26   maintenance, as required by the I/SE Order, and by obtaining financial assurance as required by
27   that order;
28
                                                       11
                                                                                               COMPLAINT
                                            ER-759
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 1         E.     For an injunction ordering Defendant David van Over to stop using the Site as a
 2   residence, in violation of the I/SE Order and the Land Use Covenant;
 3         F.     For treble damages against Defendants Jim Dobbas, Inc., Continental Rail, Inc., and
 4   David van Over under California Health and Safety Code section 25359, in an amount to be
 5   proven at trial;
 6         G.     For civil penalties against Defendants Jim Dobbas, Inc., Continental Rail, Inc., and
 7   David van Over under California Health and Safety Code sections 25359.2 and/or 25367, in an
 8   amount to be proven at trial;
 9         H.     For enforcement costs against each Defendant, including costs of this suit and
10   attorneys’ fees; and
11         I.     For all other relief the Court deems just and appropriate.
12

13   Dated: March 3, 2014                                  Respectfully submitted,
14                                                         KAMALA D. HARRIS
                                                           Attorney General of California
15                                                         TIMOTHY R. PATTERSON
16                                                         Supervising Deputy Attorney General

17                                                         /s/ Thomas G. Heller

18                                                         THOMAS G. HELLER
                                                           DENNIS L. BECK, JR.
19
                                                           Deputy Attorneys General
20                                                         Attorneys for the California Department of
                                                           Toxic Substances Control and the Toxic
21                                                         Substances Control Account

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                                                      12
                                                                                            COMPLAINT
                                            ER-760
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                           Exhibit A


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                           Exhibit B


                                ER-774
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                                 ER-788
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JS 44 (Rev. 12/12)                              CIVIL COVER SHEET
                          Case 2:14-cv-00595-WBS-JDP Document 1-3 Filed 03/03/14 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                      DEFENDANTS
          California Department of Toxic Substances Control, and Toxic Substances                      (1) Jim Dobbas, Inc. (2) Continental Rail, Inc. (3) Van Over, David (4) Pacific
          Control Account                                                                              Wood Preserving (5) West Coast Wood Preserving, LLC


   (b) County of Residence of First Listed Plaintiff Sacramento                                        County of Residence of First Listed Defendant                 Placer
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
          Thomas G. Heller, Deputy Attorney General, California Department of Justice,
          300 South Spring Street, Suite 1702, Los Angeles, CA 90013, (213) 897-2628



II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                   (For Diversity Cases Only)                                           and One Box for Defendant)
  1    U.S. Government               3 Federal Question                                                                     PTF          DEF                                           PTF      DEF
         Plaintiff                       (U.S. Government Not a Party)                        Citizen of This State           1                1   Incorporated or Principal Place          4      4
                                                                                                                                                     of Business In This State
  2    U.S. Government               4 Diversity                                              Citizen of Another State             2           2   Incorporated and Principal Place        5       5
         Defendant                      (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State
                                                                                              Citizen or Subject of a              3           3   Foreign Nation                          6       6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                          TORTS                               FORFEITURE/PENALTY                          BANKRUPTCY                        OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                PERSONAL INJURY              625 Drug Related Seizure               422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                  365 Personal Injury -            of Property 21 USC 881             423 Withdrawal                    400 State Reapportionment
  130 Miller Act                      315 Airplane Product              Product Liability        690 Other                                  28 USC 157                    410 Antitrust
  140 Negotiable Instrument                Liability                367 Health Care/                                                                                      430 Banks and Banking
  150 Recovery of Overpayment         320 Assault, Libel &              Pharmaceutical                                                  PROPERTY RIGHTS                   450 Commerce
      & Enforcement of Judgment            Slander                      Personal Injury                                                 820 Copyrights                    460 Deportation
  151 Medicare Act                    330 Federal Employers’            Product Liability                                               830 Patent                        470 Racketeer Influenced and
  152 Recovery of Defaulted                Liability                368 Asbestos Personal                                               840 Trademark                         Corrupt Organizations
      Student Loans                   340 Marine                        Injury Product                                                                                    480 Consumer Credit
      (Excludes Veterans)             345 Marine Product                Liability                         LABOR                         SOCIAL SECURITY                   490 Cable/Sat TV
  153 Recovery of Overpayment              Liability               PERSONAL PROPERTY             710 Fair Labor Standards               861 HIA (1395ff)                  850 Securities/Commodities/
      of Veteran’s Benefits           350 Motor Vehicle             370 Other Fraud                   Act                               862 Black Lung (923)                  Exchange
  160 Stockholders’ Suits             355 Motor Vehicle             371 Truth in Lending         720 Labor/Management                   863 DIWC/DIWW (405(g))            890 Other Statutory Actions
  190 Other Contract                      Product Liability         380 Other Personal                Relations                         864 SSID Title XVI                891 Agricultural Acts
  195 Contract Product Liability      360 Other Personal                Property Damage          740 Railway Labor Act                  865 RSI (405(g))                  893 Environmental Matters
  196 Franchise                           Injury                    385 Property Damage          751 Family and Medical                                                   895 Freedom of Information
                                      362 Personal Injury -             Product Liability             Leave Act                                                               Act
                                          Medical Malpractice                                    790 Other Labor Litigation                                               896 Arbitration
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS             791 Employee Retirement                FEDERAL TAX SUITS                 899 Administrative Procedure
  210 Land Condemnation               440 Other Civil Rights        Habeas Corpus:                   Income Security Act                870 Taxes (U.S. Plaintiff             Act/Review or Appeal of
  220 Foreclosure                     441 Voting                    463 Alien Detainee                                                       or Defendant)                    Agency Decision
  230 Rent Lease & Ejectment          442 Employment                510 Motions to Vacate                                               871 IRS—Third Party               950 Constitutionality of
  240 Torts to Land                   443 Housing/                      Sentence                                                             26 USC 7609                      State Statutes
  245 Tort Product Liability              Accommodations            530 General
  290 All Other Real Property         445 Amer. w/Disabilities      535 Death Penalty                IMMIGRATION
                                          Employment                Other:                       462 Naturalization Application
                                      446 Amer. w/Disabilities      540 Mandamus & Other         465 Other Immigration
                                          Other                     550 Civil Rights                 Actions
                                      448 Education                 555 Prison Condition
                                                                    560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
      1 Original          2 Removed from               3 Remanded from                    4   Reinstated or              5 Transferred from             6 Multidistrict
        Proceeding          State Court                  Appellate Court                      Reopened                     Another District               Litigation
                                                                                                                            (specify)
                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF                         42 USC 9607; 42 USC 9613
ACTION                               Brief description of cause:
                                     Recovery of environmental response costs, and declaratory relief
VII. REQUESTED IN                        CHECK IF THIS IS A CLASS ACTION                     DEMAND $ At least $2202176.92 CHECK YES only if demanded in complaint:
     COMPLAINT:                          UNDER RULE 23, F.R.Cv.P.                                                                        JURY DEMAND: Yes    No

VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                                                     JUDGE                                                                  DOCKET NUMBER
DATE                                                             SIGNATURE OF ATTORNEY OF RECORD
03/03/2014                                                       /s/ Thomas G. Heller, Deputy Attorney General
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                APPLYING IFP
                                                                                          ER-796                        JUDGE                             MAG. JUDGE
           Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 189 of 231
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 7
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 8   and Fireman’s Fund Insurance Company

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15
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16   The Continental Insurance Company

17                             UNITED STATES DISTRICT COURT

18            EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION

19   CALIFORNIA DEPARTMENT OF                   2:14-cv-00595-WBS-EFB
     TOXIC SUBSTANCES CONTROL, et al.,
20                                              JOINT NOTICE OF APPEAL TO THE
                          Plaintiffs,           UNITED STATES COURT OF APPEALS
21                                              FOR THE NINTH CIRCUIT;
     v.                                         REPRESENTATION STATEMENT
22
     JIM DOBBAS, INC., a California
23   corporation; et al.,

24                        Defendants.
                                                Action Filed: March 3, 2014
25   AND RELATED COUNTER CLAIMS
     AND CROSS CLAIMS.
26

27

28

                                              ER-797
     LEGAL:10468-0108/13507359.1 JOINT NOTICE OF APPEAL; REPRESENTATION STATEMENT
                                                  1
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 1          PLEASE TAKE NOTICE that Century Indemnity Company, Allianz Underwriters

 2   Insurance Company, Chicago Insurance Company, Fireman’s Fund Insurance Company, and

 3   The Continental Insurance Company, Proposed Intervenors in the above-named case, hereby

 4   appeal to the United States Court of Appeals for the Ninth Circuit from the order entered

 5   December 4, 2019 (ECF No. 237) denying Proposed Intervenors’ respective motions to

 6   intervene and set aside/vacate default (ECF Nos. 205, 217, 222). The order is appealable

 7   pursuant to 28 U.S.C. section 1291.

 8          The Representation Statement begins on the next page of this document. The order

 9   appealed from (ECF No. 237) is attached hereto as Exhibit A. Proposed Intervenors know of no

10   related cases currently in the Ninth Circuit.

11                                                         Respectfully submitted,

12   Dated: January 3, 2020                                WOOD, SMITH, HENNING &
                                                           BERMAN LLP
13

14                                                   By:       /s/ Stratton P. Constantinides
                                                                       Thomas F. Vandenburg
15
                                                                      Stratton P. Constantinides
16                                                         Attorneys for Century Indemnity Company,
                                                           Allianz Underwriters Insurance Company,
17                                                         Chicago Insurance Company, and Fireman’s
                                                           Fund Insurance Company
18

19
     Dated: January 3, 2020                                NICOLAIDES FINK THORPE
20                                                         MICHAELIDES SULLIVAN LLP
21
                                                     By:        /s/ Randall P. Berdan
22                                                                       Sara M. Thorpe
                                                                       Randall P. Berdan
23                                                         Attorneys for The Continental Insurance
                                                           Company
24

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     LEGAL:10468-0108/13507359.1 JOINT NOTICE OF APPEAL; REPRESENTATION STATEMENT
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           Case: 20-15029, 04/08/2021, ID: 12069037, DktEntry: 19-5, Page 191 of 231
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 1                               REPRESENTATION STATEMENT
                              (FED. R. APP. P. 12(B); Circuit Rule 3-2(B))
 2

 3          PLEASE TAKE FURTHER NOTICE THAT, in this appeal, the undersigned

 4   represent Century Indemnity Company, Allianz Underwriters Insurance Company, Chicago

 5   Insurance Company, and Fireman’s Fund Insurance Company, Proposed Intervenors and

 6   appellants in this matter, and no other party:

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17   NICOLAIDES FINK THORPE
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19   San Francisco, CA 94104
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20   Facsimile:    (415) 745-3771
21

22   California Department of Toxic Substances Control and Toxic Substances Control Account,

23   Plaintiffs and appellees in this matter are represented by:

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     Laura J. Zukerman
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     Oakland, CA 94612
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 1   Dated: January 3, 2020                          WOOD, SMITH, HENNING &
                                                     BERMAN LLP
 2

 3                                             By:         /s/ Stratton P. Constantinides
                                                                  Thomas F. Vandenburg
 4
                                                                Stratton P. Constantinides
 5                                                   Attorneys for Century Indemnity Company,
                                                     Allianz Underwriters Insurance Company,
 6                                                   Chicago Insurance Company, and Fireman’s
                                                     Fund Insurance Company
 7

 8
     Dated: January 3, 2020                          NICOLAIDES FINK THORPE
 9                                                   MICHAELIDES SULLIVAN LLP
10
                                               By:        /s/ Randall P. Berdan
11                                                                 Sara M. Thorpe
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12                                                   Attorneys for The Continental Insurance
                                                     Company
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 8                            UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10                                      ----oo0oo----
11

12    CALIFORNIA DEPARTMENT OF TOXIC               No. 2:14-CV-00595 WBS EFB
      SUBSTANCES CONTROL and the TOXIC
13    SUBSTANCES CONTROL ACCOUNT,

14                    Plaintiffs,                  ORDER RE: MOTIONS TO
                                                   INTERVENE AND TO VACATE
15          v.                                     DEFAULT
16    JIM DOBBAS, INC. a California
      corporation; CONTINENTAL RAIL,
17    INC., a Delaware corporation;
      DAVID VAN OVER, individually;
18    PACIFIC WOOD PRESERVING, a
      dissolved California
19    corporation; WEST COAST WOOD
      PRESERVING, LLC., a Nevada
20    limited liability company; and
      COLLINS & AIKMAN PRODUCTS, LLC,
21    a Delaware limited liability
      company,
22
                      Defendants.
23

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25
                   Plaintiffs Department of Toxic Substances Control and
26
      the Toxic Substances Control Account (collectively “DTSC”) sought
27
      recovery of costs and interest incurred during the cleanup of a
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 1    wood preserving operation in Elmira, California against multiple
 2    defendants under the Comprehensive Environmental Response,
 3    Compensation, and Liability Act (“CERCLA”), 42 U.S.C. § 9601 et
 4    seq.       (First Am. Compl. (“FAC”) at ¶ 19.)         In 2015, DTSC obtained
 5    entry of default against a canceled Delaware corporation,
 6    defendant Collins & Aikman Products, LLC (“C&A Products”) after
 7    it failed to respond to DTSC’s First Amended Complaint.                  (Docket
 8    No. 129.)      Presently before the court are motions to intervene
 9    and vacate C&A Products’ default filed by The Continental
10    Insurance Company (“Continental”), Century Indemnity Company
11    (“Century”), and Allianz Underwriters Insurance Company, Chicago
12    Insurance Company, and Fireman’s Fund Insurance Company
13    (collectively, “Allianz”), insurers of C&A Products.                  (Docket
14    Nos. 205, 217, 222.)
15                   This is not the first time an insurance company has
16    moved to intervene and set aside default in this matter.                     The
17    Travelers Insurance Company (“Travelers”) previously attempted to
18    do so (Docket No. 196), but this court denied the motion after
19    finding that Travelers’ refusal to defend C&A Products under a
20    reservation of rights forfeited its interest in the litigation
21    and it could not establish good cause to set aside C&A Products’
22    default.1      (Order Re: Mot. to Intervene and Set Aside Default at
23    3-4 (Docket No. 221).)         The moving parties before the court now
24    offer many of the same arguments Travelers did in its motion,
25
             1  Allstate Insurance Company filed a notice of joinder
26
      (Docket No. 218) to Travelers’ motion to intervene and did not
27    file a separate motion to intervene. (Docket No. 196.)
      Traveler’s motion to intervene was denied on October 22, 2019.
28    (Docket No. 221.) Accordingly, Allstate’s joinder fails.
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 1    with some important differences.             (Compare Docket Nos. 205, 217,
 2    222, with Docket No. 196.)          Each will be discussed in turn.
 3                 First, the court will consider Continental’s motion.
 4    Continental’s position is distinguishable from that of Travelers
 5    in that it did not become aware of this lawsuit until after C&A
 6    Products’ default was entered.           However, it is substantially
 7    indistinguishable in that Continental has neither admitted
 8    coverage nor agreed to defend C&A Products on a reservation of
 9    rights.    DTSC offered to stipulate to Continental’s intervention
10    if it either (1) accepted coverage without a reservation of
11    rights or (2) defended C&A Products with a reservation of rights.
12    (Decl. of Laura Zuckerman (“Zuckerman Decl.”), Ex. B (Docket No.
13    228).)    This was the same stipulation DTSC offered to Travelers
14    before its motion was heard.           Just as in Travelers’ case,
15    Continental did not stipulate, although instead of affirmatively
16    refusing the stipulation, it failed to respond to plaintiffs’
17    offer.    (Zuckerman Decl. ¶ 4.)         Continental also does not advance
18    any new argument to establish good cause to set aside C&A
19    Products’ default.        (Compare Docket No. 205, with Docket No.
20    196.)    Accordingly, Continental’s motion will be denied.
21                 Next, the court considers Century’s motion.               Century,
22    too, offers the same arguments Travelers did in its motion to
23    intervene and set aside default.             (Compare Docket No. 217, with
24    Docket No. 196.)       Indeed, just like Travelers, Century disclaimed
25    coverage of any claims arising from the DTSC litigation, citing a
26    settlement agreement Century purportedly signed with C&A Products
27    in 2000.     (Century Mot. to Intervene at 6 (Docket No. 217).)
28    Like Continental, Century failed to respond to plaintiffs’
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 1    proposed stipulation, and by implication refuses to offer a
 2    defense under a reservation of rights.             (Zuckerman Decl. ¶ 4.)
 3    Because it has both disclaimed coverage and refused to defend C&A
 4    Products under a reservation of rights, Century’s motion to
 5    intervene and set aside default will also be denied.                  Finally,
 6    the court will consider Allianz’s motion.              In California, “where
 7    the insured is unable to assert its rights, an insurer who seeks
 8    to intervene and protect its coverage defenses may provide an
 9    explicit reservation of rights to its client and allege that
10    reservation of rights within its pleading to put the plaintiff on
11    notice that the insurance company is reserving those rights and
12    asserting coverage defenses.”           Kaufman & Broad Communities, Inc.
13    v. Performance Plastering, Inc., 136 Cal. App. 4th 212, 222 (3d
14    Dist. 2006).      Allianz expressly stated in its motion that it has
15    “reserved all rights to decline coverage on any applicable ground
16    and expressly ha[s] not waived or otherwise forfeited any direct
17    interest in the instant action that would serve to defeat Allianz
18    Intervenors’ claim for intervention of right.”                (Allianz Mot. to
19    Intervene at 11 (Docket No. 222).)            Furthermore, unlike Century
20    and Travelers, Allianz has not disclaimed coverage.                 Instead, it
21    is purportedly “gathering information regarding coverage and or
22    duties” in the present action.2           (Id.)
23                 However, Allianz was C&A Products’ excess insurer.
24    (Opp. to Mot. to Intervene and Vacate Default at 2 n.2 (Docket
25    No. 227); see also Allianz Reply to Opp. to Mot. to Intervene at
26          2   Like Continental and Century, Allianz failed to respond
27    to DTSC’s proposed stipulation to allow them to intervene.
      (Zuckerman Decl. ¶ 4.)
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 1    2 (Docket No. 230).)         California law recognizes a distinction
 2    between primary and excess insurance coverage.                “Primary coverage
 3    is insurance coverage whereby, under the terms of the policy,
 4    liability attaches immediately upon the happening of the
 5    occurrence that gives rise to the liability . . . “excess” or
 6    “secondary” insurance is coverage whereby, under the terms of
 7    that policy, liability attaches only after a predetermined amount
 8    of primary coverage has been exhausted.”               Residence Mut. Ins. Co.
 9    v. Travelers Indem. Co. of Conn., 26 F. Supp. 3d 965, 972-73
10    (C.D. Cal. 2014) (quoting Am. Cas. Co. v. Gen. Star Indem. Co.,
11    125 Cal. App. 4th 1510, 1521 (2d Dist. 2005) (emphasis omitted)).
12                 Normally, the policy limits of the underlying primary
13    policy must be exhausted before excess insurers have the “right
14    or duty to participate in the defense” of the insured.                   Ticor
15    Title Ins. Co. v. Employers Ins. of Wausau, 40 Cal. App. 4th
16    1699, 1707 (1st Dist. 1995) (citing Signal Companies, Inc. v.
17    Harbor Ins. Co., 27 Cal. 3d 359, 365 (1980)).                In some instances,
18    excess insurers may assume the obligations of the primary insurer
19    before exhaustion occurs.          Id. at 1708-09 (finding excess insurer
20    could defend when the primary insurer was insolvent or refused to
21    defend).     But in the environmental context, primary coverage
22    cannot be exhausted “until a remediation plan is approved which
23    clearly establishes that the costs of remediation will exceed the
24    primary indemnity limits.”          Cty. of Santa Clara v. USF & G, 868
25    F. Supp. 274, 280 (N.D. Cal. 1994).
26                 While DTSC vaguely seeks to recover cleanup costs from
27    C&A Products’ “historic insurers” (Docket No. 197-4), DTSC has
28    yet to obtain judicial approval for C&A Products’ portion of the
                                                5

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 1    remediation plan3 and failed to determine “which of C&A Products’
 2    insurers, if any, to proceed against.”              (Opp. to Mot. to
 3    Intervene and Vacate Default at 6 n.5.)              Consequently, because
 4    DTSC has yet to determine which primary insurer, if any, will be
 5    responsible for C&A Products’ damages, the parties and the court
 6    do not know what the “primary indemnity limits” are.                  Absent this
 7    information, the court cannot conclude that primary coverage is
 8    exhausted and that excess insurers can properly intervene.                    See
 9    Cty. of Santa Clara, 868 F. Supp. at 280.               Accordingly, Allianz’s
10    motion to intervene and set aside default will also be denied.
11                 IT IS THEREFORE ORDERED that the motions to intervene
12    and vacate default filed Continental (Docket No. 205), Century
13    (Docket No. 217), and Allianz (Docket No. 222), be, and the same
14    thereby are, DENIED.
15    Dated:     December 3, 2019
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             3  Plaintiffs did not include the amount they sought to
25    recover in their First Amended Complaint, but have since asserted
26    C&A Products owes them $3,219,449.85 in their motion for default
      judgment. (Mot. for Default J. ¶ 5(a) (Docket No. 184).) This
27    court expresses no opinion as to the merit of that determination
      and may hold a “prove-up” hearing in the future.
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                                         PROOF OF SERVICE
 1
            I am employed in the County of Los Angeles, State of California. I am over the age of
 2   eighteen years and not a party to the within action. My business address is 10960 Wilshire
     Boulevard, 18th Floor, Los Angeles, CA 90024-3804.
 3
            On January 3, 2019, I served the following document(s) described as JOINT NOTICE
 4   OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH
     CIRCUIT; REPRESENTATION STATEMENT on the interested parties in this action as
 5   follows:
 6                                 SEE ATTACHED SERVICE LIST
 7
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
 8   document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
     who are registered CM/ECF users will be served by the CM/ECF system. Participants in the
 9   case who are not registered CM/ECF users will be served by mail or by other means permitted
     by the court rules.
10
            I declare under penalty of perjury under the laws of the United States of America that the
11   foregoing is true and correct and that I am employed in the office of a member of the bar of this
     Court at whose direction the service was made.
12
            Executed on January 3, 2019, at Los Angeles, California.
13

14

15                                                   /s/ Christina Samayoa
                                                     Christina Samayoa
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                                            SERVICE LIST
 1
             California Dept. of Toxic Substances Control, et al. v. Jim Dobbas, Inc., et al,
 2                    United States District Court, Eastern District of California
                                  Case No. 2:14-cv-0595-WBS-EFB
 3

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     Substances Control and the Toxic Substances
12   Control Account
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20                                                         THE CONTINENTAL INSURANCE
                                                           COMPANY
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                                                                                              California

                                                                                                       CIVIL,APPEAL,STAYED

                                                U.S. District Court
                            Eastern District of California - Live System (Sacramento)
                            CIVIL DOCKET FOR CASE #: 2:14-cv-00595-WBS-JDP


 CA Dept. of Toxic Substances Control et al v. Jim Dobbas, Inc. et                  Date Filed: 03/03/2014
 al                                                                                 Jury Demand: None
 Assigned to: Senior Judge William B. Shubb                                         Nature of Suit: 893 Environmental Matters
 Referred to: Magistrate Judge Jeremy D. Peterson                                   Jurisdiction: Federal Question
 Demand: $2,202,000
 Related Case: 2:19-cv-01892-WBS-JDP
 Case in other court: US Court of Appeals, 20-15029
 Cause: 42:9607 Real Property Tort to Land
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4/2/2021            Case: 20-15029, 04/08/2021,    ID:
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                                                                                              California

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                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

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                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Timothy Martin Thornton
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Dennis L. Beck , Jr.
                                                                                   (See above for address)
                                                                                   TERMINATED: 07/23/2015

                                                                                   Thomas Gerald Heller
                                                                                   (See above for address)
                                                                                   TERMINATED: 02/27/2015


 V.
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 Jim Dobbas, Inc.                                                     represented by Jennifer Hartman King
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4/2/2021            Case: 20-15029, 04/08/2021,    ID:
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                                                                                              California

                                                                               Email: jhartmanking@hartmankinglaw.com
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED

                                                                                    Nicole R. Gleason
                                                                                    Diepenbrock Elkin Gleason LLP
                                                                                    500 Capitol Mall
                                                                                    Suite 2200
                                                                                    Sacramento, CA 95814
                                                                                    916-492-5000
                                                                                    Fax: 916-446-2840
                                                                                    Email: ngleason@diepenbrock.com

 Defendant
 Continental Rail, Inc.
 Defendant
 David Van Over                                                       represented by David Van Over, PRO-SE E-FILER
 TERMINATED: 03/21/2018                                                              216 F Street #108
                                                                                     Davis, CA 95616
                                                                                     775-830-3888
                                                                                     Email: david.vanover@gmail.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Pacific Wood Preserving
 Defendant
 West Coast Wood Preserving, LLC                                      represented by Lester Owen Brown
 Limited Liability Company                                                           Perkins Coie LLP
 TERMINATED: 09/16/2015                                                              1888 Century Park East
                                                                                     Suite 1700
                                                                                     Los Angeles, CA 90067
                                                                                     310-788-3203
                                                                                     Fax: 310-788-3399
                                                                                     Email: lbrown@perkinscoie.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 Collins & Aikman Products, LLC


 V.
 Intervenor Defendant
 Allstate Insurance Company                                           represented by Maria S. Quintero
                                                                                     Hinshaw & Culbertson, LLP
                                                                                     One California Street
                                                                                     18th Floor
                                                                                     San Francisco, CA 94111
                                                                                     415-362-6000
                                                                                     Fax: 415-834-9070
                                                                    ER-812
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4/2/2021            Case: 20-15029, 04/08/2021,    ID:
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                                                                               Email: mquintero@hinshawlaw.com
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED
 Intervenor
 Travelers Indemnity Company                                          represented by Alexander Eugene Potente
 TERMINATED: 10/22/2019                                                              Clyde & Co US LLP
                                                                                     4 Embarcadero
                                                                                     Suite 1350
                                                                                     San Francisco, CA 94111
                                                                                     415-365-9800
                                                                                     Fax: 415-365-9801
                                                                                     Email: alex.potente@clydeco.us
                                                                                     TERMINATED: 10/22/2019
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Intervenor
 The Continental Insurance Company                                    represented by Sara M. Thorpe
 TERMINATED: 12/04/2019                                                              Nicolaides, Fink, et al.,
                                                                                     101 Montgomery St.
                                                                                     Suite 2300
                                                                                     San Francisco, CA 94104
                                                                                     415-745-3772
                                                                                     Fax: 415-745-3771
                                                                                     Email: sthorpe@nicolaidesllp.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Stratton Peter Constantinides
                                                                                    Wood Smith Henning & Berman LLP
                                                                                    10960 Wilshire Blvd.
                                                                                    18th Floor
                                                                                    Los Angeles, CA 90024
                                                                                    310-481-7647
                                                                                    Email: sconstantinides@wshblaw.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Intervenor
 Century Indemnity Company                                            represented by Stratton Peter Constantinides
 TERMINATED: 12/04/2019                                                              (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Thomas Vandenburg
                                                                                    Wood Smith Henning & Berman LLP
                                                                                    10960 Wilshire Blvd., 18th Floor
                                                                                    Los Angeles, CA 90024
                                                                                    310-481-7600
                                                                                    Fax: 310-481-7650
                                                                                    Email: tvandenburg@wshblaw.com


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4/2/2021            Case: 20-15029, 04/08/2021,    ID:
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                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED

 Intervenor
 Allianz Underwriters Insurance                                       represented by Stratton Peter Constantinides
 Company                                                                             (See above for address)
 TERMINATED: 12/04/2019                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Thomas Vandenburg
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

 Cross Claimant
 Jim Dobbas, Inc.                                                     represented by Jennifer Hartman King
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Nicole R. Gleason
                                                                                    (See above for address)


 V.
 Cross Defendant
 Pacific Wood Preserving
 Cross Defendant
 Continental Rail, Inc.
 Cross Defendant
 David Van Over                                                       represented by David Van Over, PRO-SE E-FILER
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Cross Defendant
 West Coast Wood Preserving, LLC                                      represented by Lester Owen Brown
 Limited Liability Company                                                           (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Counter Claimant
 Jim Dobbas, Inc.                                                     represented by Jennifer Hartman King
 TERMINATED: 12/22/2016                                                              (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Nicole R. Gleason
                                                                                    (See above for address)

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https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                               5/30
4/2/2021            Case: 20-15029, 04/08/2021,    ID:
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                                                                                              California

 V.
 Counter Defendant
 California Department of Toxic                                       represented by Laura Zuckerman
 Substances Control                                                                  (See above for address)
 TERMINATED: 12/22/2016                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Olivia W. Karlin
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Dennis L. Beck , Jr.
                                                                                   (See above for address)
                                                                                   TERMINATED: 07/23/2015

                                                                                   Thomas Gerald Heller
                                                                                   (See above for address)
                                                                                   TERMINATED: 02/27/2015
 Counter Defendant
 Toxic Substances Control Account                                     represented by Laura Zuckerman
 TERMINATED: 12/22/2016                                                              (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Olivia W. Karlin
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Dennis L. Beck , Jr.
                                                                                   (See above for address)
                                                                                   TERMINATED: 07/23/2015

                                                                                   Thomas Gerald Heller
                                                                                   (See above for address)
                                                                                   TERMINATED: 02/27/2015

 Cross Claimant
 David Van Over                                                       represented by David Van Over, PRO-SE E-FILER
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Cross Defendant
 Pacific Wood Preserving

 Cross Defendant
 West Coast Wood Preserving, LLC                                      represented by Lester Owen Brown
                                                                    ER-815
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                               6/30
4/2/2021       Case: 20-15029, 04/08/2021,    ID:
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 Limited Liability Company                                                (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

 Cross Claimant
 West Coast Wood Preserving, LLC                                      represented by Lester Owen Brown
 Limited Liability Company                                                           (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Cross Defendant
 Jim Dobbas, Inc.                                                     represented by Jennifer Hartman King
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Nicole R. Gleason
                                                                                   (See above for address)
 Cross Claimant
 West Coast Wood Preserving, LLC                                      represented by Lester Owen Brown
 Limited Liability Company                                                           (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Cross Defendant
 David Van Over                                                       represented by David Van Over, PRO-SE E-FILER
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Counter Claimant
 West Coast Wood Preserving, LLC                                      represented by Lester Owen Brown
 Limited Liability Company                                                           (See above for address)
 TERMINATED: 09/16/2015                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Counter Defendant
 California Department of Toxic                                       represented by Laura Zuckerman
 Substances Control                                                                  (See above for address)
 TERMINATED: 09/16/2015                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Olivia W. Karlin
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY
                                                                    ER-816
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                               7/30
4/2/2021            Case: 20-15029, 04/08/2021,    ID:
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                                                                               ATTORNEY TO BE NOTICED

                                                                                   Dennis L. Beck , Jr.
                                                                                   (See above for address)
                                                                                   TERMINATED: 07/23/2015

                                                                                   Thomas Gerald Heller
                                                                                   (See above for address)
                                                                                   TERMINATED: 02/27/2015

 Counter Defendant
 Toxic Substances Control Account                                     represented by Laura Zuckerman
 TERMINATED: 09/16/2015                                                              (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Olivia W. Karlin
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Dennis L. Beck , Jr.
                                                                                   (See above for address)
                                                                                   TERMINATED: 07/23/2015

                                                                                   Thomas Gerald Heller
                                                                                   (See above for address)
                                                                                   TERMINATED: 02/27/2015
 Cross Claimant
 Jim Dobbas, Inc.                                                     represented by Jennifer Hartman King
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Nicole R. Gleason
                                                                                   (See above for address)


 V.
 Cross Defendant
 Collins & Aikman Products, LLC

 Cross Defendant
 Continental Rail, Inc.
 Cross Defendant
 Pacific Wood Preserving

 Cross Defendant
 David Van Over                                                       represented by David Van Over, PRO-SE E-FILER
                                                                                     (See above for address)

                                                                    ER-817
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                               8/30
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                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED

 Cross Defendant
 West Coast Wood Preserving, LLC                                      represented by Lester Owen Brown
 Limited Liability Company                                                           (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
  03/03/2014              1 COMPLAINT against All Defendants by California Department of Toxic Substances
                            Control, Toxic Substances Control Account. (Filing fee $ 400, receipt number 0972-
                            5207641) (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Civil Cover Sheet)(Heller,
                            Thomas) (Entered: 03/03/2014)
  03/04/2014              2 SUMMONS ISSUED as to *Continental Rail, Inc., Jim Dobbas, Inc., Pacific Wood
                            Preserving, David Van Over, West Coast Wood Preserving, LLC* with answer to
                            complaint due within *21* days. Attorney *Thomas Gerald Heller* *State of California,
                            Office of the Attorney General* *300 South Spring Street, Suite 1702* *Los Angeles,
                            CA 90013*. (Kastilahn, A) (Entered: 03/04/2014)
  03/04/2014              3 CIVIL NEW CASE DOCUMENTS ISSUED; Initial Scheduling Conference set for
                            6/9/2014 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                            (Attachments: # 1 Consent Form, # 2 VDRP) (Kastilahn, A) (Entered: 03/04/2014)
  03/21/2014              4 WAIVER of SERVICE RETURNED EXECUTED: West Coast Wood Preserving, LLC
                            Waiver sent on 3/14/2014, answer due 5/13/2014. (Heller, Thomas) (Entered:
                            03/21/2014)
  03/21/2014              5 CERTIFICATE of SERVICE for 3 Civil New Case Documents for WBS by plaintiffs.
                            (Heller, Thomas) Modified on 3/24/2014 (Marciel, M) (Entered: 03/21/2014)
  04/18/2014              6 WAIVER of SERVICE RETURNED EXECUTED: Jim Dobbas, Inc. Waiver sent on
                            3/14/2014. (Heller, Thomas) Modified on 4/21/2014 (Mena-Sanchez, L). (Entered:
                            04/18/2014)
  04/18/2014              7 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                            Toxic Substances Control Account re 3 Civil New Case Documents for WBS. (Heller,
                            Thomas) (Entered: 04/18/2014)
  04/18/2014              8 WAIVER of SERVICE RETURNED EXECUTED: David Van Over Waiver sent on
                            3/14/2014. (Heller, Thomas) Modified on 4/21/2014 (Mena-Sanchez, L). (Entered:
                            04/18/2014)
  04/18/2014              9 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                            Toxic Substances Control Account re 3 Civil New Case Documents for WBS. (Heller,
                            Thomas) (Entered: 04/18/2014)
  05/01/2014             10 STIPULATION to Extend Defendant Jim Dobbas, Inc.'s Time to Respond to Complaint
                            by Jim Dobbas, Inc. Attorney King, Jennifer Hartman added. (King, Jennifer) (Entered:
                            05/01/2014)
  05/02/2014             11 SUMMONS RETURNED EXECUTED: Continental Rail, Inc. served on 4/17/2014.
                            (Heller, Thomas) (Entered: 05/02/2014)
  05/12/2014             12 SUMMONS RETURNED EXECUTED: Pacific Wood Preserving served on 4/27/2014,
                                                                    ER-818
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4/2/2021            Case: 20-15029, 04/08/2021,     ID:
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                           answer due 5/19/2014. (Heller, Thomas) (Entered: 05/12/2014)
  05/12/2014             13 STIPULATION to Extend Defendant David Van Over's Time to Respond to the
                            Complaint by California Department of Toxic Substances Control, Toxic Substances
                            Control Account. (Heller, Thomas) (Entered: 05/12/2014)
  05/13/2014             14 STIPULATION To Extend Time To Respond To Complaint Re: Defendant West Coast
                            Wood Preserving, LLC by West Coast Wood Preserving, LLC. Attorney Brown, Lester
                            Owen added. (Brown, Lester) (Entered: 05/13/2014)
  05/23/2014             15 JOINT STATUS REPORT by California Department of Toxic Substances Control, Toxic
                            Substances Control Account. (Heller, Thomas) (Entered: 05/23/2014)
  05/30/2014             16 REQUEST FOR ENTRY OF DEFAULT as to Continental Rail, Inc. by California
                            Department of Toxic Substances Control, Toxic Substances Control Account.
                            (Attachments: # 1 Declaration of Thomas G. Heller, # 2 Exhibit A, # 3 Exhibit B, # 4
                            Exhibit C, # 5 Exhibit D, # 6 Proof of Service) (Heller, Thomas) (Entered: 05/30/2014)
  05/30/2014             17 REQUEST FOR ENTRY OF DEFAULT as to Pacific Wood Preserving by California
                            Department of Toxic Substances Control, Toxic Substances Control Account.
                            (Attachments: # 1 Declaration of Thomas G. Heller, # 2 Exhibit A, # 3 Exhibit B, # 4
                            Exhibit C, # 5 Proof of Service) (Heller, Thomas) (Entered: 05/30/2014)
  06/02/2014             18 CLERK'S ENTRY OF DEFAULT as to *Continental Rail, Inc.* (Michel, G) (Entered:
                            06/02/2014)
  06/02/2014             19 CLERK'S ENTRY OF DEFAULT as to *Pacific Wood Preserving*. (Michel, G)
                            (Entered: 06/02/2014)
  06/02/2014             20 STATUS (PRETRIAL SCHEDULING) ORDER signed by Senior Judge William B.
                            Shubb on 5/30/2014: Parties shall serve Initial Disclosures by no later than 7/30/2014. All
                            Discovery shall be conducted so as to be completed by 3/30/2016. Disclosure of Expert
                            Witnesses is due no later than 4/29/2016. All Motions to be filed by 9/2/2016. Final
                            Pretrial Conference set for 11/7/2016 at 2:00 PM and Bench Trial set for 1/4/2017 at 9:00
                            AM in Courtroom 5 (WBS). (Marciel, M) (Entered: 06/02/2014)
  06/04/2014             21 CERTIFICATE OF SERVICE re 18 Clerk's Entry of Default, 19 Clerk's Entry of Default,
                            20 Status (Pretrial Scheduling) Order by California Department of Toxic Substances
                            Control, Toxic Substances Control Account. (Heller, Thomas) Modified on 6/5/2014
                            (Michel, G). (Entered: 06/04/2014)
  06/10/2014             22 ANSWER with Jury Demand by West Coast Wood Preserving, LLC.(Brown, Lester)
                            (Entered: 06/10/2014)
  06/10/2014             23 ANSWER with Jury Demand, CROSSCLAIM against Pacific Wood Preserving,
                            Continental Rail, Inc., David Van Over, West Coast Wood Preserving, LLC by Jim
                            Dobbas, Inc.., COUNTERCLAIM against California Department of Toxic Substances
                            Control, Toxic Substances Control Account by Jim Dobbas, Inc.. by Jim Dobbas, Inc..
                            (Attachments: # 1 Jim Dobbas Inc.'s Counterclaim, # 2 Exhibit A to Counterclaim, # 3
                            Exhibit B to Counterclaim, # 4 Jim Dobbas Inc.'s Cross-Claims, # 5 Exhibit A to Cross-
                            Claim)(King, Jennifer) Modified on 6/12/2014 (Zignago, K.). (Entered: 06/10/2014)
  06/10/2014             24 ANSWER with Jury Demand, CROSS-CLAIM against Pacific Wood Preserving, West
                            Coast Wood Preserving, LLC by David Van Over. by David Van Over. (Attachments: # 1
                            Proposed Order) (Manzer, C) Modified on 9/13/2019 (Kirksey Smith, K). (Entered:
                            06/12/2014)
  06/10/2014             42 [DISREGARD SEE ECF NO. 55] PROPOSED ORDER granting access to electronic
                            filing by David Van Over. (Michel, G) Modified on 10/10/2014 (Shaddox-Waldrop, A).
                                                                    ER-819
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                           (Entered: 09/08/2014)
  06/24/2014             25 NOTICE of Errata to 23 Counterclaim by Jim Dobbas, Inc. (King, Jennifer) Modified on
                            6/25/2014 (Zignago, K.). (Entered: 06/24/2014)
  07/01/2014             26 STIPULATION extending time to respond to Counterclaim of defendant Jim Dobbas,
                            Inc. by California Department of Toxic Substances Control. (Beck, Dennis) Modified on
                            7/2/2014 (Marciel, M) (Entered: 07/01/2014)
  07/07/2014             27 MOTION TO DISMISS; MOTION TO STRIKE by California Department of Toxic
                            Substances Control, Toxic Substances Control Account. Motion Hearing SET for
                            8/25/2014 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                            (Attachments: # 1 Memorandum of Points and Authorities, # 2 Proposed Order, # 3 Proof
                            of Service) (Heller, Thomas) Modified on 7/8/2014 (Michel, G). (Entered: 07/07/2014)
  07/07/2014             28 STIPULATION FOR EXTENSION OF TIME to respond to the 24 Counterclaim by
                            West Coast Wood Preserving, LLC. (Attachments: # 1 Signataure Page) (Brown, Lester)
                            Modified on 7/8/2014 (Michel, G). (Entered: 07/07/2014)
  07/07/2014             29 STIPULATION FOR EXTENSION OF TIME to respond to the 23 Crossclaim by West
                            Coast Wood Preserving, LLC. (Brown, Lester) Modified on 7/8/2014 (Michel, G).
                            (Entered: 07/07/2014)
  07/07/2014             30 NOTICE OF ERRATA re 28 Stipulation for Extension of Time by West Coast Wood
                            Preserving, LLC. (Attachments: # 1 Exhibit 1) (Brown, Lester) Modified on 7/8/2014
                            (Michel, G). (Entered: 07/07/2014)
  08/04/2014             31 ANSWER with Jury Demand, CROSSCLAIM against Jim Dobbas, Inc. by West Coast
                            Wood Preserving, LLC. by West Coast Wood Preserving, LLC.(Brown, Lester) (Entered:
                            08/04/2014)
  08/04/2014             32 ANSWER with Jury Demand, CROSSCLAIM against David Van Over by West Coast
                            Wood Preserving, LLC. by West Coast Wood Preserving, LLC.(Brown, Lester) (Entered:
                            08/04/2014)
  08/07/2014             33 STIPULATION and PROPOSED ORDER to Continue Hearing on Plaintiffs' 27 Motion
                            to Dismiss Counterclaim and to Strike Portions of Answers, by Jim Dobbas, Inc.. (King,
                            Jennifer) Modified on 8/8/2014 (Kastilahn, A). (Entered: 08/07/2014)
  08/11/2014             34 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 8/8/14 re 27
                            Motion to Dismiss/Motion to Strike : Motion Hearing reset for 9/8/2014 at 02:00 PM in
                            Courtroom 5 (WBS) before Senior Judge William B. Shubb. (Manzer, C) (Entered:
                            08/11/2014)
  08/19/2014             35 STIPULATION and PROPOSED ORDER to 27 strike portions of West Coast Preserving,
                            LLC's Answer. (Attachments: # 1 Proof of Service) (Heller, Thomas) Modified on
                            8/20/2014 (Marciel, M) (Entered: 08/19/2014)
  08/20/2014             36 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 8/20/14
                            ORDERING that WCWP's demand for a jury trial and prayer for attorney's fees are
                            stricken from WCWP's Answer to Plaintiffs' Complaint; WCWP's Fifth (Laches), Tenth
                            (Minimal Contribution), Eleventh (Waiver), and Twelfth (Failure to Mitigate) Affirmative
                            Defenses are stricken from WCWP's Answer to Plaintiffs' Complaint; and If WCWP is
                            found to be liable to Plaintiffs in this case, nothing in this stipulation shall affect WCWP's
                            rights under 42 U.S.C. section 9613(f)(1) with respect to the Court's allocation of
                            response costs in resolving contribution claims among liable persons. This stipulation
                            does not resolve the portions of the Motion that concern the counterclaim and answer of
                            Defendant Jim Dobbas, Inc. and the answer of Defendant David Van Over. Therefore, the

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                           Motion remains set for hearing at the above date and time. (Becknal, R) (Entered:
                           08/20/2014)
  08/21/2014             37 STIPULATION extending time to respond to West Coast Wood Preserving's 23
                            Crossclaim by Jim Dobbas, Inc.. (King, Jennifer) Modified on 8/25/2014 (Marciel, M)
                            (Entered: 08/21/2014)
  08/22/2014             38 OPPOSITION by Jim Dobbas, Inc. to 27 Motion to DismissMotion to Strike. (King,
                            Jennifer) (Entered: 08/22/2014)
  08/28/2014             40 SUMMONS RETURNED UNEXECUTED as to Continental Rail, Inc. (Manzer, C)
                            (Entered: 08/29/2014)
  08/29/2014             39 REPLY by California Department of Toxic Substances Control, Toxic Substances Control
                            Account re 38 Opposition to Motion, 27 Motion to DismissMotion to Strike.
                            (Attachments: # 1 Proof of Service)(Heller, Thomas) (Entered: 08/29/2014)
  09/08/2014             41 MINUTES (Text Only) for proceedings held before Senior Judge William B. Shubb:
                            MOTION HEARING held on 9/8/2014 re 27 Plaintiffs' Motion to Dismiss Defendant Jim
                            Dobbas, Inc.'s Counterclaim, and to Strike Portions of Answers of Defendants Jim
                            Dobbas, Inc., David Van Over and West Coast Wood Preserving, LLC. Counsel argue.
                            Court grants defendant David Van Over's request for leave to file an opposition, and
                            orders the opposition to be filed no later than 9/29/2014. Plaintiffs' reply shall be filed no
                            later than 10/6/2014. Plaintiffs' Motion to Strike Portions of Answer of Defendant David
                            Van Over 27 is reset for 10/20/2014 at 02:00 PM in Courtroom 5 (WBS) before Senior
                            Judge William B. Shubb. Plaintiff's counsel, Thomas Heller, is granted leave to appear by
                            telephone on 10/20/2014. Court takes the motion as to the remaining defendants UNDER
                            SUBMISSION. Court shall prepare and issue a separate order. Plaintiffs Counsel Thomas
                            Heller (via telephone), Dennis Beck, Jr. present. Defendants Counsel Jennife Hartman
                            King, David Van Over (pro per), Lester Brown present. Court Reporter: Kathy Swinhart.
                            (Kirksey Smith, K) (Entered: 09/08/2014)
  09/08/2014                   SERVICE BY MAIL: MINUTES (TEXT ONLY) of 9/8/2014 motion hearing, served on
                               David Van Over. (Kirksey Smith, K) (Entered: 09/08/2014)
  09/16/2014             43 ORDER signed by Senior Judge William B. Shubb on 9/16/14 DENYING 27 Motion to
                            Dismiss and GRANTING in part and DENYING in part 27 Motion to Strike. Jim
                            Dobbas, Inc. has 20 days to file an amended answer if it can do so consistent with this
                            order. (Manzer, C) (Entered: 09/16/2014)
  09/16/2014                   SERVICE BY MAIL: 43 Order on Motions served on David Van Over. (Manzer, C)
                               (Entered: 09/16/2014)
  09/22/2014             44 NOTICE of APPEARANCE by Jennifer Hartman King on behalf of Jim Dobbas, Inc..
                            (King, Jennifer) (Entered: 09/22/2014)
  09/25/2014             45 AMENDED ANSWER and Jury Demand to Plaintiffs California Department of Toxic
                            Substances Control and the Toxic Substances Control Account Complaint by Jim
                            Dobbas, Inc..(King, Jennifer) Modified on 9/26/2014 (Becknal, R). (Entered: 09/25/2014)
  09/25/2014             46 ANSWER and Jury Demands to West Coast Wood Preserving, LLC's Crossclaim by Jim
                            Dobbas, Inc.(King, Jennifer) Modified on 9/26/2014 (Becknal, R). (Entered: 09/25/2014)
  09/29/2014             48 OPPOSITION to 27 Motion to Strike by Defendant David Van Over. (Michel, G)
                            (Entered: 09/30/2014)
  09/30/2014             47 ANSWER to 23 Counterclaim by California Department of Toxic Substances Control,
                            Toxic Substances Control Account. (Beck, Dennis) Modified on 10/1/2014 (Michel, G).
                            (Entered: 09/30/2014)
                                                                    ER-821
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4/2/2021            Case: 20-15029, 04/08/2021,    ID:
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  10/02/2014             49 MOTION for Leave to File Counterclaim by West Coast Wood Preserving, LLC. Motion
                            Hearing set for 11/3/2014 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge
                            William B. Shubb. (Attachments: # 1 Declaration of Lester O. Brown, # 2 Exhibit A to
                            Brown Declaration, # 3 Proposed Order)(Brown, Lester) (Entered: 10/02/2014)
  10/02/2014             50 MOTION for Leave to File Third Party Complaint by West Coast Wood Preserving,
                            LLC. Motion Hearing set for 11/3/2014 at 02:00 PM in Courtroom 5 (WBS) before
                            Senior Judge William B. Shubb. (Attachments: # 1 Declaration of Lester O. Brown, # 2
                            Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Proposed Order)
                            (Brown, Lester) Modified on 10/3/2014 (Reader, L). (Entered: 10/02/2014)
  10/02/2014             51 [DISREGARD SEE ECF NO. 55] PROPOSED ORDER to allow defendant permission
                            to file electronically by David Van Over. (Reader, L) Modified on 10/10/2014 (Shaddox-
                            Waldrop, A). (Entered: 10/03/2014)
  10/06/2014             52 REPLY by plaintiffs to defendants' 48 Opposition to Motion to Dismiss and to Strike.
                            (Attachments: # 1 Proof of Service) (Heller, Thomas) Modified on 10/7/2014 (Marciel,
                            M) (Entered: 10/06/2014)
  10/06/2014             53 WITHDRAWAL of 50 Motion for Leave to file Third-Party Complaint by West Coast
                            Wood Preserving, LLC. (Brown, Lester) Modified on 10/7/2014 (Marciel, M) (Entered:
                            10/06/2014)
  10/06/2014             54 MINUTE ORDER (TEXT ONLY): Pursuant to the Withdrawal of Motion 53 , the
                            Motion for Leave to File Third Party Complaint 50 filed by West Coast Wood Preserving,
                            LLC is WITHDRAWN. The 11/3/2014 hearing for the Motion 50 is VACATED.
                            (Shaddox-Waldrop, A) (Entered: 10/06/2014)
  10/06/2014                   SERVICE BY MAIL: 54 Minute Order served on David Van Over. (Shaddox-Waldrop,
                               A) (Entered: 10/06/2014)
  10/09/2014             55 EX PARTE APPLICATION and PROPOSED ORDER by defendant David Van Over for
                            permission to file and receive documents electronically. (Marciel, M) Modified on
                            10/15/2014 (Kaminski, H). (Entered: 10/10/2014)
  10/10/2014             56 STATEMENT of NON-OPPOSITION TO EX PARTE APPLICATION by Defendant
                            West Coast Wood Preserving, LLC re 55 Proposed Order. (Brown, Lester) (Entered:
                            10/10/2014)
  10/10/2014             57 STATEMENT of Non-Opposition by Plaintiffs California Department of Toxic
                            Substances Control, Toxic Substances Control Account, Counter Defendants California
                            Department of Toxic Substances Control, Toxic Substances Control Account re 55
                            Proposed Order. (Attachments: # 1 Proof of Service)(Beck, Dennis) (Entered:
                            10/10/2014)
  10/10/2014             58 STATEMENT of Non-Opposition to Van Over's Ex Parte Application Requesting
                            Permission to File and Receive Documents Electronically by Defendant Jim Dobbas, Inc.
                            re 55 Proposed Order. (King, Jennifer) (Entered: 10/10/2014)
  10/10/2014             59 REQUEST for Telephonic Appearance by Jennifer Hartman King at Hearing by Jim
                            Dobbas, Inc. re 27 Motion to DismissMotion to Strike filed by California Department of
                            Toxic Substances Control, Toxic Substances Control Account. (Attachments: # 1
                            Proposed Order)(King, Jennifer) (Entered: 10/10/2014)
  10/15/2014             60 ORDER signed by Senior Judge William B. Shubb on 10/14/14: 59 Request to appear
                            telephonically at the hearing on October 20, 2014 be, and the same hereby is, DENIED.
                            (Kaminski, H) (Entered: 10/15/2014)
  10/15/2014             61 ORDER granting 55 EX PARTE APPLICATION for permission to file and receive
                                                                    ER-822
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                           documents electronically signed by Senior Judge William B. Shubb on 10/14/14.
                           (Kaminski, H) (Entered: 10/15/2014)
  10/16/2014             62 ORDER signed by Senior Judge William B. Shubb on 10/16/2014 GRANTING 27
                            Plaintiffs' motion to strike the jury demand of defendant David van Over, GRANTING
                            27 Plaintiffs' motion to strike the prayer for attorney's fees of defendant David van Over
                            and DENYING 27 Plaintiffs' motion to strike David van Over affirmative defenses with
                            respect to the ninth, tenth, and thirty-four affirmative defenses and GRANTED in all
                            other aspects. David Van Over has 20 days from the date of this order to file an amended
                            answer and counterclaim consistent with this order. (Donati, J) (Entered: 10/16/2014)
  10/16/2014             63 MINUTE ORDER (TEXT ONLY): In light of the 10/16/2014 Order 62 , the 10/20/2014
                            hearing on the Plaintiffs' Motion to Strike Portions of Answer of Defendant David Van
                            Over 27 is VACATED. (Shaddox-Waldrop, A) (Entered: 10/16/2014)
  10/17/2014             64 STATEMENT of NON-OPPOSITION by California Department of Toxic Substances
                            Control, Toxic Substances Control Account to 49 MOTION for Leave to File
                            Counterclaim. (Beck, Dennis) (Entered: 10/17/2014)
  10/20/2014             65 STATEMENT of NON-OPPOSITION by Jim Dobbas, Inc. to 49 MOTION for Leave to
                            File Counterclaim. (King, Jennifer) (Entered: 10/20/2014)
  10/23/2014             66 ORDER signed by Senior Judge William B. Shubb on 10/22/14 ORDERING that
                            WCWP's MOTION for Leave to file Counterclaim 49 is GRANTED. (Mena-Sanchez, L)
                            (Entered: 10/23/2014)
  10/27/2014             67 COUNTERCLAIM against All Plaintiffs by West Coast Wood Preserving, LLC.
                            (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Brown, Lester) (Entered: 10/27/2014)
  11/14/2014             68 MOTION for LEAVE to AMEND 1 COMPLAINT by plaintiffs. Motion Hearing set for
                            12/15/2014 at 2:00 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                            (Attachments: # 1 Memorandum of Points and Authorities, # 2 Declaration of Thomas G.
                            Heller, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8
                            Proposed Order, # 9 Proof of Service) (Heller, Thomas) Modified on 11/26/2014
                            (Marciel, M) (Entered: 11/14/2014)
  11/18/2014             69 ANSWER by California Department of Toxic Substances Control, Toxic Substances
                            Control Account.(Heller, Thomas) (Entered: 11/18/2014)
  11/25/2014             70 STATEMENT of NON-OPPOSITION by defendant West Coast Wood Preserving, LLC
                            to 68 Motion for Leave to Amend 1 Complaint. (Brown, Lester) Modified on 11/26/2014
                            (Marciel, M) (Entered: 11/25/2014)
  11/26/2014             71 STATEMENT of NON-OPPOSITION by defendant Jim Dobbas, Inc. to plaintiffs' 68
                            Motion for Leave to Amend 1 Complaint. (King, Jennifer) Modified on 12/1/2014
                            (Marciel, M) (Entered: 11/26/2014)
  12/01/2014             72 STATEMENT of NON-OPPOSITION by David Van Over to 68 Motion for Leave to
                            Amend 1 Complaint. (Van Over, PRO-SE E-FILER, David) (Entered: 12/01/2014)
  12/08/2014             73 REQUEST for JUDICIAL NOTICE by California Department of Toxic Substances
                            Control in re 68 Motion to Amend the Complaint/Petition. (Attachments: # 1 Exhibit A, #
                            2 Proof of Service)(Beck, Dennis) Modified on 12/9/2014 (Zignago, K.). (Entered:
                            12/08/2014)
  12/08/2014             74 NOTICE of Errata by California Department of Toxic Substances Control, Toxic
                            Substances Control Account. (Attachments: # 1 Exhibit A - Request for Judicial Notice, #
                            2 Proof of Service)(Beck, Dennis) (Entered: 12/08/2014)

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4/2/2021     Case: 20-15029, 04/08/2021,       ID:
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  12/10/2014    75 ORDER signed by Senior Judge William B. Shubb on 12/10/2014 GRANTING 68
                    Plaintiffs' Motion for leave to file a First Amended Complaint. (Kirksey Smith, K)
                    (Entered: 12/10/2014)
  12/10/2014             76 MINUTE ORDER (TEXT ONLY): Pursuant to the Court's 75 Order filed 12/10/2014, the
                            parties are hereby notified that the hearing date on 68 Plaintiffs' Motion for Leave to File
                            First Amended Complaint set for 12/15/2014 is VACATED. (Kirksey Smith, K) (Entered:
                            12/10/2014)
  12/11/2014             77 FIRST AMENDED COMPLAINT against All Defendants by California Department of
                            Toxic Substances Control, Toxic Substances Control Account. (Attachments: # 1 Exhibit
                            A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Heller, Thomas) (Entered: 12/11/2014)
  12/12/2014             78 SUMMONS ISSUED as to *Collins & Aikman Products, LLC* with answer to
                            complaint due within *21* days. Attorney *Thomas Gerald Heller* *State of California,
                            Office of the Attorney General* *300 South Spring Street, Suite 1702* *Los Angeles,
                            CA 90013*. (Verduzco, M) (Entered: 12/12/2014)
  12/15/2014             79 MOTION for SUMMARY JUDGMENT by West Coast Wood Preserving, LLC. Motion
                            Hearing set for 1/26/2015 at 2:00 PM in Courtroom 5 (WBS) before Senior Judge
                            William B. Shubb. (Attachments: # 1 Statement of Undisputed Facts, # 2 Declaration of
                            Stephen Ryan, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Proposed Order) (Brown,
                            Lester) Modified on 12/16/2014 (Reader, L). (Attachment 3 replaced on 12/18/2014)
                            (Kaminski, H). (Entered: 12/15/2014)
  12/15/2014             80 DECLARATION of Lester O. Brown in SUPPORT OF 79 MOTION for SUMMARY
                            JUDGMENT. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #
                            5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                            Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit
                            P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22
                            Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit Z)(Brown,
                            Lester) Modified on 12/16/2014 (Reader, L). (Entered: 12/15/2014)
  12/15/2014             81 REQUEST for JUDICIAL NOTICE by West Coast Wood Preserving, LLC in re 79
                            Motion for Summary Judgment,. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                            C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I,
                            # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit M, # 13 Exhibit N)(Brown, Lester) Modified
                            on 12/16/2014 (Reader, L). (Entered: 12/15/2014)
  12/16/2014             82 NOTICE OF ERRATA Exhibit L Mislabeled as Exhibit M Inadvertently omitted by West
                            Coast Wood Preserving, LLC re 81 Request for Judicial Notice. (Attachments: # 1
                            Exhibit L - Request for Judicial Notice, # 2 Exhibit M - Request for Judicial Notice)
                            (Brown, Lester) Modified on 12/17/2014 (Reader, L). (Entered: 12/16/2014)
  12/16/2014             83 REQUEST for Removal and Replacement of Incorrectly Filed Document by West Coast
                            Wood Preserving, LLC re 79 MOTION for SUMMARY JUDGMENT filed by West
                            Coast Wood Preserving, LLC. (Attachments: # 1 Corrected Exhibit A - Ryan Declaration,
                            # 2 Proposed Order, # 3 Corrected 79-3 attached to Proposed Order)(Brown, Lester)
                            (Entered: 12/16/2014)
  12/18/2014             84 ORDER signed by Senior Judge William B. Shubb on 12/17/14: The Clerk of the Court
                            shall remove Docket Number 79-3, and replace it with the corrected version, a copy of
                            which is attached to this Order. (Kaminski, H) (Entered: 12/18/2014)
  12/24/2014             85 ANSWER with Jury Demand by Jim Dobbas, Inc.. Attorney Gleason, Nicole R. added.
                            (Gleason, Nicole) (Entered: 12/24/2014)
  12/30/2014             86 STIPULATION and PROPOSED ORDER for Continuance of Hearing re 79 MOTION
                                                                    ER-824
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4/2/2021            Case: 20-15029, 04/08/2021,     ID:
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                           for SUMMARY JUDGMENT by California Department of Toxic Substances Control,
                           Toxic Substances Control Account. (Heller, Thomas) (Entered: 12/30/2014)
  12/31/2014             87 MOTION FOR LEAVE to file an Amended Cross-Claim AMEND by Jim Dobbas, Inc.
                            Motion Hearing SET for 2/9/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior
                            Judge William B. Shubb. (Attachments: # 1 Memorandum of Points and Authorities, # 2
                            Declaration of Jennifer Hartman King, # 3 Exhibit A, # 4 Exhibit B, # 5 Proposed Order)
                            (King, Jennifer) Modified on 1/5/2015 (Michel, G). (Entered: 12/31/2014)
  01/05/2015             88 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 12/31/14
                            ORDERING that the hearing on the MOTION for SUMMARY JUDGMENT 79 is
                            CONTINUED to 2/9/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge
                            William B. Shubb. All oppositions must be filed and served by 1/23/2015, and any reply
                            must be filed and served by 1/30/2015. (Kastilahn, A) (Entered: 01/05/2015)
  01/05/2015             89 ANSWER by West Coast Wood Preserving, LLC.(Brown, Lester) (Entered: 01/05/2015)
  01/05/2015             90 MOTION for Leave to File Crossclaim Against Collins & Aikman Products, LLC by
                            West Coast Wood Preserving, LLC. Motion Hearing set for 2/9/2015 at 02:00 PM in
                            Courtroom 5 (WBS) before Senior Judge William B. Shubb. (Attachments: # 1
                            Declaration of Lester O. Brown, # 2 Proposed Order)(Brown, Lester) (Entered:
                            01/05/2015)
  01/05/2015             91 NOTICE by The Corporation Trust Company stating they are unable to accept service for
                            Continental Rail, Inc.. (Zignago, K.) (Entered: 01/06/2015)
  01/06/2015             92 SUMMONS RETURNED EXECUTED: Collins & Aikman Products, LLC served on
                            12/18/2014, answer due 1/8/2015. (Heller, Thomas) (Entered: 01/06/2015)
  01/07/2015             93 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                            Toxic Substances Control Account re 77 Amended Complaint. (Heller, Thomas)
                            (Entered: 01/07/2015)
  01/09/2015             94 PROPOSED ORDER re Motion for Leave to file a First Amended Crossclaim Judge
                            William B. Shubb by David Van Over. (Attachments: # 1 MOTION FOR LEAVE to file a
                            First Amended Crossclaim, # 2 Proposed First Amended Crossclaim) (Van Over, PRO-
                            SE E-FILER, David) Modified on 1/12/2015 (Michel, G). (Entered: 01/09/2015)
  01/20/2015             95 STIPULATION and PROPOSED ORDER to further continue hearing on 79 Motion for
                            Summary Judgment by plaintiffs. (Heller, Thomas) Modified on 1/21/2015 (Marciel, M)
                            (Entered: 01/20/2015)
  01/23/2015             96 STATEMENT of NON-OPPOSITION by California Department of Toxic Substances
                            Control, Toxic Substances Control Account to 90 MOTION for Leave to File Crossclaim
                            Against Collins & Aikman Products, LLC, 94 Motion for Leave to file a First Amended
                            Crossclaim, 87 Motion for Leave to file an Amended Cross-Claim. (Beck, Dennis)
                            (Entered: 01/23/2015)
  01/23/2015             97 STIPULATION and ORDER 95 signed by Senior Judge William B. Shubb on 1/23/2015
                            continuing 79 Defendant West Coast Wood Preserving, LLC's Motion for Summary
                            Judgment to 3/9/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge William
                            B. Shubb. All opposition papers to the motion shall be filed and served (via CM/ECF or
                            mail) by 2/20/2015. Any reply papers shall be filed and served (via CM/ECF or mail) by
                            2/27/2015. (Kirksey Smith, K) (Entered: 01/23/2015)
  01/26/2015             98 STATEMENT of NON-OPPOSITION by Jim Dobbas, Inc. to 90 MOTION for Leave to
                            File Crossclaim Against Collins & Aikman Products, LLC, 94 Motion for Leave to file a
                            First Amended Crossclaim. (Gleason, Nicole) (Entered: 01/26/2015)

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4/2/2021     Case: 20-15029, 04/08/2021,      ID:
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  02/04/2015    99 ORDER signed by Senior Judge William B. Shubb on 2/3/2015 ORDERING that
                    Defendant Jim Dobbas, Inc.'s 87 motion for leave to file a First Amendment Cross-Claim
                    is GRANTED. Defendant West Coast Wood Preserving's 90 motion for leave to file an
                    amended Answer including new cross-claims is GRANTED. Defendant David van Over's
                    94 motion for leave to file a First Amendment Cross-Claim is GRANTED. (Zignago, K.)
                    (Entered: 02/04/2015)
  02/06/2015           100 MINUTE ORDER (TEXT ONLY): The Court, having issued an 99 Order ruling on 87
                           Defendant Jim Dobbas, Inc's Motion for Leave to File First Amended Cross-Claim and
                           90 Defendant West Coast Wood Preserving, LLC's Motion for Leave to File Cross-claim
                           Against Collins & Aikman Products, LLC, hereby VACATES the motion hearing date of
                           2/9/2015. No appearance is necessary. (Kirksey Smith, K) (Entered: 02/06/2015)
  02/11/2015           101 FIRST AMENDED CROSSCLAIM to DTSC's 1 COMPLAINT against Collins &
                           Aikman Products, LLC; Continental Rail, Inc.; Pacific Wood Preserving; David Van
                           Over; and West Coast Wood Preserving, LLC by Jim Dobbas, Inc.; DEMAND for Jury
                           Trial. (King, Jennifer) Modified on 2/12/2015 (Marciel, M) (Entered: 02/11/2015)
  02/12/2015           102 SUMMONS ISSUED as to *Collins & Aikman Products, LLC; Continental Rail, Inc.;
                           Pacific Wood Preserving; David Van Over* with answer to complaint due within *21*
                           days. Attorney *Jennifer Hartman King* *King Williams & Gleason LLP* *520 Capitol
                           Mall, Suite 750* *Sacramento, CA 95814* (Marciel, M) (Entered: 02/12/2015)
  02/12/2015           103 NOTICE of LODGING of Administrative Record by California Department of Toxic
                           Substances Control, Toxic Substances Control Account. (Attachments: # 1 Exhibit 1 -
                           Certification and Index, # 2 Proof of Service) (Heller, Thomas) Modified on 2/13/2015
                           (Marciel, M) (Entered: 02/12/2015)
  02/13/2015                   ACKNOWLEDGEMENT of RECEIPT for 103 Administrative Record - DVD from
                               plaintiffs' counsel Thomas Heller. (Marciel, M) (Entered: 02/13/2015)
  02/16/2015           104 NOTICE OF ASSOCIATION OF COUNSEL by California Department of Toxic
                           Substances Control, Toxic Substances Control Account. Attorney Zuckerman, Laura J.
                           ADDED. (Zuckerman, Laura) Modified on 2/17/2015 (Michel, G.). (Entered:
                           02/16/2015)
  02/20/2015           105 ***DISREGARD*** OPPOSITION by Jim Dobbas, Inc. to 79 Motion for Summary
                           Judgment. (King, Jennifer) (Entered: 02/20/2015)
  02/20/2015           106 CLERK'S NOTICE re 105 Opposition to Motion: Please DISREGARD filing -
                           Document filed in error. (Marrujo, C) (Entered: 02/20/2015)
  02/20/2015           107 OPPOSITION by California Department of Toxic Substances Control, Toxic Substances
                           Control Account to 79 Motion for Summary Judgment. (Attachments: # 1 Response to
                           Statement of Undisputed Facts)(Heller, Thomas) (Entered: 02/20/2015)
  02/20/2015           108 DECLARATION of Peter MacNicholl in OPPOSITION TO 79 Motion for Summary
                           Judgment. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                           Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                           Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15)(Heller,
                           Thomas) (Entered: 02/20/2015)
  02/20/2015           109 DECLARATION of Laura J. Zuckerman in OPPOSITION TO 79 Motion for Summary
                           Judgment. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                           Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                           Exhibit 11, # 12 Exhibit 12)(Heller, Thomas) (Entered: 02/20/2015)
  02/20/2015           110 REQUEST for JUDICIAL NOTICE by California Department of Toxic Substances
                           Control, Toxic Substances Control Account in re 107 Opposition to Motion.
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4/2/2021            Case: 20-15029, 04/08/2021,      ID:
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                           (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                           Exhibit 6)(Heller, Thomas) (Entered: 02/20/2015)
  02/20/2015           111 RESPONSE by California Department of Toxic Substances Control, Toxic Substances
                           Control Account to 81 Request for Judicial Notice,. (Heller, Thomas) (Entered:
                           02/20/2015)
  02/20/2015           112 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 110 Request for Judicial Notice, 109 Declaration,
                           107 Opposition to Motion, 108 Declaration, 111 Response. (Heller, Thomas) (Entered:
                           02/20/2015)
  02/20/2015           113 PARTIAL JOINDER by Jim Dobbas, Inc. in Opposition to 79 Motion for Summary
                           Judgment and partial statement of non-opposition. (King, Jennifer) Modified on
                           2/23/2015 (Becknal, R). (Entered: 02/20/2015)
  02/27/2015           114 NOTICE of Change of Designation of Counsel for Service by All Plaintiffs. (Zuckerman,
                           Laura) (Entered: 02/27/2015)
  02/27/2015           115 REPLY by West Coast Wood Preserving, LLC(Limited Liability Company) re 79 Motion
                           for Summary Judgment. (Attachments: # 1 Declaration of Elaina Jackson, # 2 Declaration
                           of Darrel Nicholas, # 3 Declaration Supplemental of Lester O. Brown)(Brown, Lester)
                           (Entered: 02/27/2015)
  03/02/2015           116 MOTION for SUMMARY JUDGMENT by Jim Dobbas, Inc.. Motion Hearing set for
                           4/6/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           (Attachments: # 1 Points and Authorities, # 2 Statement of Undisputed Facts In Support,
                           # 3 Proposed Order)(King, Jennifer) Modified on 3/3/2015 (Meuleman, A). (Entered:
                           03/02/2015)
  03/02/2015           117 REQUEST to Further Continue Hearing on West Coast Wood Preserving's Motion for
                           Summary Judgment by Jim Dobbas, Inc. re 97 Stipulation and Order. (King, Jennifer)
                           Modified on 3/3/2015 (Meuleman, A). (Entered: 03/02/2015)
  03/03/2015           118 STATEMENT of Non-Opposition to Continuance Request by Plaintiff California
                           Department of Toxic Substances Control re 117 Request. (Zuckerman, Laura) (Entered:
                           03/03/2015)
  03/03/2015           119 ORDER signed by Senior Judge William B. Shubb on 3/3/2015 GRANTING 117
                           Defendant Jim Dobbas' Request to Continue Motion Hearing : Good cause appearing, IT
                           IS HEREBY ORDERED that the hearing on 79 Defendant West Coast Wood Preserving,
                           LLC's motion for summary judgment currently scheduled for 3/9/2015, be, and the same
                           hereby is, CONTINUED to 4/6/2015, at 2:00 p.m. in Courtroom 5 (WBS) before Senior
                           Judge William B. Shubb. (Kirksey Smith, K) (Entered: 03/03/2015)
  03/05/2015           120 STIPULATION and [PROPOSED] ORDER for Continuation of Summary Judgment
                           Motion Hearing 79 Due to Settlement In Principle. (Brown, Lester) Modified on 3/9/2015
                           (Mena-Sanchez, L). (Entered: 03/05/2015)
  03/06/2015           121 STIPULATION and ORDER 79 signed by Senior Judge William B. Shubb on 3/6/2015
                           resetting Defendant West Coast Wood Preserving, LLC's Motion for Summary Judgment
                           on 7/27/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           The Court further sets a hearing date on the Motion to Approve the Consent Decree for
                           7/13/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           (Kirksey Smith, K) (Entered: 03/06/2015)
  03/18/2015           122 STIPULATION and PROPOSED ORDER for Continuation of Hearing Due to Settlement
                           in Principle re 116 MOTION for SUMMARY JUDGMENT by California Department of

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4/2/2021            Case: 20-15029, 04/08/2021,     ID:
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                           Toxic Substances Control, Toxic Substances Control Account. (Beck, Dennis) (Entered:
                           03/18/2015)
  03/19/2015           123 STIPULATION and ORDER 122 signed by Senior Judge William B. Shubb on
                           3/19/2015 DENYING request to continue Dobbas' Motion for Summary Judgment: The
                           court cannot continue the hearing on this motion for the length of time requested. The
                           motion remains scheduled for hearing at 2:00 p.m. on 4/6/2015. If the parties do not wish
                           to submit the motion for decision at that time, they may alternatively agree that the
                           motion be withdrawn, without prejudice to being refiled at a later date consistent with the
                           court's Pretrial Scheduling Order. (Kirksey Smith, K) (Entered: 03/19/2015)
  03/19/2015           124 STIPULATION AND ORDER FOR WITHDRAWAL of 116 MOTION for SUMMARY
                           JUDGMENT by Jim Dobbas, Inc. supported by Stipulated Request and Proposed Order
                           filed by Defendant Jim Dobbas, Inc. and Plaintiffs (Gleason, Nicole) Modified on
                           3/19/2015 (Kirksey Smith, K). (Entered: 03/19/2015)
  03/20/2015           125 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 3/20/2015.
                           ORDERING defendant Jim Dobbas' 116 Motion for Summary Judgment WITHDRAWN
                           WITHOUT PREJUDICE to being refiled at a later date consistent with the Court's
                           Pretrial Scheduling Order. The 4/6/2015 motion hearing date before Judge Shubb is
                           VACATED. (Shaddox-Waldrop, A) (Entered: 03/20/2015)
  03/25/2015           126 REQUEST FOR ENTRY OF DEFAULT as to Collins & Aikman Products, LLC by
                           California Department of Toxic Substances Control. (Zuckerman, Laura) (Entered:
                           03/25/2015)
  03/25/2015           127 DECLARATION of Laura J. Zuckerman re 126 Request for Entry of Default.
                           (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Zuckerman, Laura) (Entered: 03/25/2015)
  03/25/2015           128 CERTIFICATE of SERVICE by California Department of Toxic Substances Control re
                           126 Request for Entry of Default, 127 Declaration. (Zuckerman, Laura) (Entered:
                           03/25/2015)
  03/26/2015           129 CLERK'S ENTRY OF DEFAULT as to *Collins & Aikman Products, LLC* (Kaminski,
                           H) (Entered: 03/26/2015)
  05/10/2015           130 ANSWER with Jury Demand by David Van Over.(Van Over, PRO-SE E-FILER, David)
                           (Entered: 05/10/2015)
  06/02/2015           131 NOTICE of Lodging of Proposed Consent Decree with Defendant West Coast Wood
                           Preserving, LLC by California Department of Toxic Substances Control, Toxic
                           Substances Control Account. (Attachments: # 1 Proposed Consent Decree)(Beck,
                           Dennis) (Entered: 06/02/2015)
  06/15/2015           132 SUMMONS RETURNED UNEXECUTED as to Continental Rail, Inc. Process
                           attempted upon The Corporation Trust Company but Continental Rail, Inc. is inactive.
                           (Meuleman, A) (Entered: 06/16/2015)
  07/06/2015           133 STIPULATION and PROPOSED ORDER for Continue Hearing on Motion to Approve
                           Consent Decree Between Plaintiffs and Defendant West Coast Wood Preserving, LLC
                           and Vacate Hearing on Defendant West Coast Wood Preserving, LLC's Motion for
                           Summary Judgment by California Department of Toxic Substances Control, Toxic
                           Substances Control Account. (Beck, Dennis) (Entered: 07/06/2015)
  07/10/2015           134 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 7/9/15.
                           Hearing set for Motion to Approve the Consent Decree on 8/24/2015 at 02:00 PM in
                           Courtroom 5 (WBS) before Senior Judge William B. Shubb. The 7/27/15 hearing on the
                           Motion for Summary Judgment is VACATED. (Manzer, C) (Entered: 07/10/2015)

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  07/15/2015   135 NOTICE of LODGING Proposed Consent Decree with defendant Jim Dobbas, Inc. by
                    plaintiffs. (Attachments: # 1 Proposed Consent Decree) (Zuckerman, Laura) Modified on
                    7/16/2015 (Marciel, M) (Entered: 07/15/2015)
  07/23/2015           136 NOTICE of Association of Counsel and Request to Remove Dennis L. Beck, Jr., from
                           Service List, by California Department of Toxic Substances Control, Toxic Substances
                           Control Account. (Zuckerman, Laura) (Entered: 07/23/2015)
  07/24/2015           137 MOTION for JUDICIAL APPROVAL of Consent Decree Between Plaintiffs and West
                           Coast Wood Preserving, LLC by California Department of Toxic Substances Control.
                           Motion Hearing set for 8/24/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior
                           Judge William B. Shubb. (Attachments: # 1 Memorandum of Points and Authorities, # 2
                           Declaration of Peter MacNicholl)(Karlin, Olivia) Modified on 7/27/2015 (Reader, L).
                           (Entered: 07/24/2015)
  08/24/2015           138 MINUTES (Text Only) for proceedings before Senior Judge William B. Shubb:
                           MOTION HEARING held on 8/24/2015 re 137 Plaintiffs' MOTION for JUDICIAL
                           APPROVAL Consent Decree. Counsel argue. MOTION SUBMITTED. The Court shall
                           prepare and issue a separate order. Plaintiffs Counsel Laura Zuckerman present.
                           Defendants Counsel Lester Brown present. Court Reporter: Kimberly Bennett. (Kirksey
                           Smith, K) (Entered: 08/24/2015)
  08/25/2015           139 MEMORANDUM AND ORDER RE: MOTION FOR ORDER APPROVING
                           CONSENT DECREE signed by Senior Judge William B. Shubb on 8/24/15 ORDERING
                           that plaintiffs' motion for approval of the Consent Decree be, and the same hereby is,
                           GRANTED. IT IS FURTHER ORDERED that all claims for contribution or indemnity
                           against West Coast Wood Preserving, LLC arising out of response costs incurred at the
                           Elmira Site be, and the same hereby are, DISMISSED pursuant to 42 U.S.C. § 9613(f)(2).
                           (Becknal, R) (Entered: 08/25/2015)
  09/02/2015           140 CERTIFICATE of SERVICE by Jim Dobbas, Inc.. (Gleason, Nicole) (Entered:
                           09/02/2015)
  09/16/2015           141 CONSENT DECREE between plaintiffs and defendant West Coast Wood Preserving,
                           LLC signed by Senior Judge William B. Shubb on 9/15/15. (Kaminski, H) (Entered:
                           09/16/2015)
  09/18/2015           142 MOTION for Judicial Approval of Consent Decree between Plaintiffs and Defendant Jim
                           Dobbas, Inc. Motion Hearing SET for 10/19/2015 at 02:00 PM in Courtroom 5 (WBS)
                           before Senior Judge William B. Shubb. (Zuckerman, Laura) Modified on 9/23/2015
                           (Mena-Sanchez, L). (Entered: 09/18/2015)
  09/18/2015           143 MEMORANDUM of Points and Authorities by Plaintiffs in SUPPORT of 142 MOTION
                           for Judicial Approval of Consent Decree. (Zuckerman, Laura) Modified on 9/23/2015
                           (Mena-Sanchez, L). (Entered: 09/18/2015)
  09/18/2015           144 DECLARATION of Peter MacNicholl in SUPPORT OF 142 MOTION for Judicial
                           Approval of Consent Decree. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)
                           (Zuckerman, Laura) Modified on 9/23/2015 (Mena-Sanchez, L). (Entered: 09/18/2015)
  09/18/2015           145 MINUTE ORDER (TEXT ONLY): The parties are hereby notified that the 142 Plaintiffs'
                           Motion for Judicial Approval of Consent Decree Between Plaintiffs and Jim Dobbas, Inc.
                           is improperly noticed on an unavailable motion date. The motion shall be heard on
                           11/2/2015 at 02:00 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           Counsel for plaintiff is instructed to immediately file and serve an amended notice of
                           motion setting forth the above-referenced date and time, or the motion shall be stricken.
                           The parties are further instructed to review Judge Shubb's calendaring information on the

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                           court's website for available hearing dates prior to filing any motions. (Kirksey Smith, K)
                           (Entered: 09/18/2015)
  09/18/2015           146 AMENDED MOTION re 142 MOTION for Judicial Approval of Consent Decree by
                           Plaintiffs. Motion Hearing SET for 11/2/2015 at 02:00 PM in Courtroom 5 (WBS) before
                           Senior Judge William B. Shubb. (Zuckerman, Laura) Modified on 9/23/2015 (Mena-
                           Sanchez, L). (Entered: 09/18/2015)
  11/02/2015           147 MINUTE ORDER (TEXT ONLY): The parties are hereby notified 146 Plaintiffs'
                           Amended Motion for Judicial Approval of Consent Decree Between Plaintiffs and *Jim
                           Dobbas, Inc. is continued from 11/2/2016 to 11/16/2015 at 01:30 PM in Courtroom 5
                           (WBS) before Senior Judge William B. Shubb. (Kirksey Smith, K) *Modified on
                           11/2/2015 (Kirksey Smith, K). (Entered: 11/02/2015)
  11/13/2015           148 MINUTE ORDER (TEXT ONLY): On the Court's own motion, the parties are hereby
                           notified that 146 Plaintiffs' Amended Motion for Judicial Approval of Consent Decree
                           Between Plaintiffs and Jim Dobbas, Inc. now set for hearing on 11/16/2015 is taken off
                           calendar and under submission, no appearance is necessary. The Court shall issue a
                           separate order. (Kirksey Smith, K) (Entered: 11/13/2015)
  11/16/2015           149 MEMORANDUM AND ORDER signed by Senior Judge William B. Shubb on 11/13/15
                           ORDERING that granting 146 Motion for Approval of the Consent Decree between
                           plaintiffs and Jim Dobbas, Inc. is GRANTED; all claims for contribution or indemnit
                           against Jim Dobbas, Inc. arising out of response costs incurred at the Elmira Site are
                           DISMISSED pursuant to 42 U.S.C. § 9613(f)(2). (Benson, A) (Entered: 11/16/2015)
  11/18/2015           150 CONSENT DECREE BETWEEN PLAINTIFFS AND DEFENDANT JIM DOBBAS,
                           INC. signed by Senior Judge William B. Shubb on 11/17/15. (Benson, A) (Entered:
                           11/18/2015)
  11/18/2015           151 ORDER signed by Senior Judge William B. Shubb on 11/17/15 ORDERING that,
                           pursuant to the 150 Consent Decree, that Jim Dobbas, Inc.'s 23 , 25 counterclaims against
                           plaintiffs are DISMISSED. (Benson, A) (Entered: 11/18/2015)
  01/19/2016           152 STIPULATION and PROPOSED ORDER for Extension of Cut-Off Dates and Trial by
                           California Department of Toxic Substances Control, Toxic Substances Control Account.
                           (Zuckerman, Laura) (Entered: 01/19/2016)
  01/20/2016           153 STIPULATION AND ORDER signed by Senior Judge William B. Shubb on 1/19/2016
                           ORDERING that fact discovery be completed by 8/3/2016; ORDERING that expert
                           reports be due on 8/31/2016; ORDERING that expert discovery be completed by
                           10/31/2016; ORDERING that motions be filed by 1/6/2017; CONTINUING the Final
                           Pretrial Conference to 3/13/2017 at 01:30 PM in Courtroom 5 (WBS) before Senior
                           Judge William B. Shubb; CONTINUING the Trial to 5/9/2017 at 09:00 AM in
                           Courtroom 5 (WBS) before Senior Judge William B. Shubb. (Michel, G.) (Entered:
                           01/20/2016)
  12/15/2016           154 STIPULATION and PROPOSED ORDER for Extension of Cut-Off Dates and Trial by
                           California Department of Toxic Substances Control, Toxic Substances Control Account.
                           (Zuckerman, Laura) (Entered: 12/15/2016)
  12/19/2016           155 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 12/16/16
                           ORDERING that the Motion filing deadline is EXTENDED to 5/5/2017, the Final
                           Pretrial Conference is EXTENDED to 7/17/2017 at 01:30 PM, and the Trial is
                           EXTENDED to 9/12/2017 at 09:00 AM. (Kastilahn, A) (Entered: 12/19/2016)
  05/05/2017           156 MOTION for PARTIAL SUMMARY JUDGMENT on the Liability of Defendant David
                           Van Over by CA Dept. of Toxic Substances Control, Toxic Substances Control Account.
                                                                    ER-830
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4/2/2021            Case: 20-15029, 04/08/2021,      ID:
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                           Motion Hearing set for 6/12/2017 at 01:30 PM in Courtroom 5 (WBS) before Senior
                           Judge William B. Shubb. (Zuckerman, Laura) Modified on 5/8/2017 (Reader, L).
                           (Entered: 05/05/2017)
  05/05/2017           157 DECLARATION of Olivia W. Karlin in Support of 156 Motion for Partial Summary
                           Judgment. (Attachments: # 1 Exhibit A)(Zuckerman, Laura) Modified on 5/8/2017
                           (Reader, L). (Entered: 05/05/2017)
  05/05/2017           158 DECLARATION of Jason Xiao in Support of 156 Motion for Partial Summary
                           Judgment. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Zuckerman, Laura) Modified on
                           5/8/2017 (Reader, L). (Entered: 05/05/2017)
  05/05/2017           159 STATEMENT of Undisputed Facts and Conclusions of Law by Plaintiffs CA Dept of
                           Toxic Substances Control, Toxic Substances Control Account re 156 Motion for Partial
                           Summary Judgment. (Zuckerman, Laura) Modified on 5/8/2017 (Reader, L). (Entered:
                           05/05/2017)
  05/05/2017           160 NOTICE of Lodging [Proposed] Order by CA Dept of Toxic Substances Control, Toxic
                           Substances Control Account re 156 Motion for Partial Summary Judgment. (Zuckerman,
                           Laura) Modified on 5/8/2017 (Reader, L). (Entered: 05/05/2017)
  05/05/2017           161 DECLARATION of Deena Stanley in Support of 156 Motion for Partial Summary
                           Judgment. (Attachments: # 1 Exhibit A , # 2 Exhibit B, # 3 Exhibit C)(Karlin, Olivia)
                           Modified on 5/8/2017 (Reader, L). (Entered: 05/05/2017)
  05/05/2017           162 PROPOSED ORDER re 156 Motion for Partial Summary Judgment by CA Dept of Toxic
                           Substances Control. (Karlin, Olivia) Modified on 5/8/2017 (Reader, L). (Entered:
                           05/05/2017)
  05/05/2017           163 MEMORANDUM of Points and Authorities by CA Dept of Toxic Substances Control,
                           Toxic Substances Control Account in Support of 156 Motion for Partial Summary
                           Judgment. (Zuckerman, Laura) Modified on 5/8/2017 (Reader, L). (Entered: 05/05/2017)
  06/07/2017           164 NOTICE to RESCHEDULE HEARING on 156 Motion for Partial Summary Judgment:
                           Motion Hearing set for 6/12/2017 at 01:30 PM in Courtroom 5 (WBS) before Senior
                           Judge William B. Shubb. (Van Over, PRO-SE E-FILER, David) (Entered: 06/07/2017)
  06/07/2017           165 STIPULATION and PROPOSED ORDER for Continuance of June 12, 2017 Hearing
                           Date re 156 Motion for Partial Summary Judgment. by California Department of Toxic
                           Substances Control, Toxic Substances Control Account. (Zuckerman, Laura) (Entered:
                           06/07/2017)
  06/08/2017           166 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 06/08/17
                           ORDERING that the following dates are RESET re 156 Motion for Partial Summary
                           Judgment: Van Over Opposition due 06/16/17; reply due 06/26/17; and Motion Hearing
                           is RESET for 7/10/2017 at 01:30 PM in Courtroom 5 (WBS) before Senior Judge
                           William B. Shubb. (Benson, A) (Entered: 06/08/2017)
  06/12/2017           167 MINUTE ORDER (TEXT ONLY): On the Court's own motion, the parties are hereby
                           notifed that the Final Pretrial Conference is reset for 8/28/2017 at 01:30 PM in
                           Courtroom 5 (WBS) before Senior Judge William B. Shubb. The Court Trial is reset for
                           10/24/2017 at 09:00 AM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           (Kirksey Smith, K) (Entered: 06/12/2017)
  06/21/2017           168 RESPONSE by David Van Over to 156 Motion for Partial Summary Judgment, 162
                           Proposed Order, 160 Notice. (Van Over, PRO-SE E-FILER, David) (Entered:
                           06/21/2017)
  06/26/2017           169 REPLY by California Department of Toxic Substances Control, Toxic Substances Control
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4/2/2021            Case: 20-15029, 04/08/2021,     ID:
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                           Account re 156 Motion for Partial Summary Judgment. (Zuckerman, Laura) (Entered:
                           06/26/2017)
  07/06/2017           170 ORDER signed by Senior Judge William B. Shubb on 7/6/17, ORDERING that 156
                           Motion for Partial Summary Judgment is GRANTED as follows: (1) Defendant Van Over
                           is jointly and severally liable for costs plaintiffs incurred and may incur in the future in
                           responding to the release and threatened release of hazardous chemicals at the Elmira
                           site, to the extent recovery of such costs is authorized under CERCLA. (2) The amount of
                           past response costs plaintiffs are authorized to recover under CERCLA is yet to be
                           determined. (Kastilahn, A) (Entered: 07/06/2017)
  07/31/2017           171 STIPULATION and PROPOSED ORDER for Extension of Pretrial Dates and Trial by
                           California Department of Toxic Substances Control, Toxic Substances Control Account.
                           (Zuckerman, Laura) (Entered: 07/31/2017)
  08/01/2017           172 STIPULATION and ORDER signed by Senior Judge William B. Shubb on 7/31/2017
                           ORDERING the Final Pretrial Conference CONTINUED to 1/16/2018 at 01:30 PM in
                           Courtroom 5 (WBS) before Senior Judge William B. Shubb; and the Bench Trial
                           CONTINUED to 3/13/2018 at 09:00 AM in Courtroom 5 (WBS) before Senior Judge
                           William B. Shubb. (Washington, S) (Entered: 08/01/2017)
  10/30/2017           173 NOTICE OF LODGING by California Department of Toxic Substances Control.
                           (Attachments: # 1 Proposed Consent Decree)(Karlin, Olivia) Modified on 10/31/2017
                           (Washington, S). (Entered: 10/30/2017)
  12/26/2017           174 STIPULATION and PROPOSED ORDER for Extension of Pretrial Dates and Trial;
                           Declaration of Laura J. Zuckerman, by California Department of Toxic Substances
                           Control, Toxic Substances Control Account. (Zuckerman, Laura) Modified on
                           12/27/2017 (Kastilahn, A). (Entered: 12/26/2017)
  12/27/2017           175 STIPULATION and ORDER for continuance of pretrial dates 174 signed by Senior
                           Judge William B. Shubb on 12/27/2017 resetting the Pretrial Conference date for
                           4/9/2018 at 01:30 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           The Bench Trial is reset for 6/5/2018 at 09:00 AM in Courtroom 5 (WBS) before Senior
                           Judge William B. Shubb. (Kirksey Smith, K) (Entered: 12/27/2017)
  02/15/2018           176 NOTICE of LODGING of Proposed Consent Decree by California Department of Toxic
                           Substances Control. (Attachments: # 1 Proposed Consent Decree)(Karlin, Olivia)
                           Modified on 2/15/2018 (Benson, A.). (Entered: 02/15/2018)
  02/16/2018           177 MOTION to APPROVE CONSENT JUDGMENT Between Plaintiffs and Defendant
                           David Van Over by California Department of Toxic Substances Control, Toxic
                           Substances Control Account. Motion Hearing set for 3/19/2018 at 01:30 PM in
                           Courtroom 5 (WBS) before Senior Judge William B. Shubb. (Zuckerman, Laura)
                           Modified on 2/20/2018 (Fabillaran, J). (Entered: 02/16/2018)
  02/16/2018           178 DECLARATION of William Beckman in support of 177 Motion to Approve Consent
                           Judgment. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Zuckerman, Laura)
                           Modified on 2/20/2018 (Fabillaran, J). (Entered: 02/16/2018)
  02/16/2018           179 MEMORANDUM by California Department of Toxic Substances Control, Toxic
                           Substances Control Account in support of 177 Motion to Approve Consent Judgment.
                           (Zuckerman, Laura) Modified on 2/20/2018 (Fabillaran, J). (Entered: 02/16/2018)
  03/21/2018           180 MINUTES (Text Only) for proceedings before Senior Judge William B. Shubb:
                           MOTION HEARING Re: 177 Motion for Judicial Approval of Consent Decree between
                           Plaintiffs and defendant David Van Over held on 3/19/2018. No appearance by defendant
                           David Van Over. Plaintiff's counsel informs the Court that defendant has no opposition to
                                                                    ER-832
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                             23/30
4/2/2021            Case: 20-15029, 04/08/2021,      ID:
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                           the motion. After further discussion with plaintiff's counsel, the Court found that the
                           proposed consent decree is procedurally and substantively fair and APPROVED the
                           settlement. Matter submitted. Court to issue separate order. Plaintiffs' Counsel Laura
                           Zuckerman present. Defendant Not present. Court Reporter: Kelly O'Halloran. (Kirksey
                           Smith, K) (Entered: 03/21/2018)
  03/21/2018           181 MEMORANDUM AND ORDER signed by Senior Judge William B. Shubb on
                           3/20/2018 ORDERING that plaintiffs' 177 Motion for Judicial Approval of the Consent
                           Decree between plaintiffs and Van Over is GRANTED; all claims for contribution against
                           Van Over arising out of response costs incurred at the Site are, DISMISSED pursuant to
                           42 U.S.C. § 9613(f)(2). (Becknal, R) Modified on 9/13/2019 (Kirksey Smith, K).
                           (Entered: 03/21/2018)
  03/28/2018           182 CONSENT DECREE between Plaintiffs and Defendant David Van Over, signed by
                           Senior Judge William B. Shubb on 3/27/18. (Kastilahn, A) (Entered: 03/28/2018)
  05/25/2018           183 ABSTRACT OF JUDGMENT ISSUED. (Hunt, G) (Entered: 05/25/2018)
  08/21/2019           184 MOTION for DEFAULT JUDGMENT by California Department of Toxic Substances
                           Control, Toxic Substances Control Account. Motion Hearing set for 9/23/2019 at 01:30
                           PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb. (Zuckerman, Laura)
                           (Entered: 08/21/2019)
  08/21/2019           185 MEMORANDUM by California Department of Toxic Substances Control, Toxic
                           Substances Control Account in SUPPORT of 184 Motion for Default Judgment.
                           (Zuckerman, Laura) (Entered: 08/21/2019)
  08/21/2019           186 DECLARATION of Robin McGinnis in support of 184 Motion for Default Judgment.
                           (Zuckerman, Laura) (Entered: 08/21/2019)
  08/21/2019           187 DECLARATION of Anthony Westlake in support of 184 Motion for Default Judgment.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Zuckerman, Laura) (Entered: 08/21/2019)
  08/21/2019           188 DECLARATION of Jason Xiao in support of 184 Motion for Default Judgment.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Zuckerman,
                           Laura) (Entered: 08/21/2019)
  08/21/2019           189 DECLARATION of McKinley Lewis, Jr. in support of 184 Motion for Default Judgment.
                           (Attachments: # 1 Exhibit A, Part 1, # 2 Exhibit A, Part 2, # 3 Exhibit B, # 4 Exhibit C, #
                           5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, #
                           11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N)(Zuckerman,
                           Laura) (Entered: 08/21/2019)
  08/21/2019           190 DECLARATION of Laura J. Zuckerman in support of 184 Motion for Default Judgment.
                           (Attachments: # 1 Exhibit A)(Zuckerman, Laura) (Entered: 08/21/2019)
  08/21/2019           191 PROPOSED ORDER re Granting re 184 Motion for Default Judgment. (Zuckerman,
                           Laura) (Entered: 08/21/2019)
  08/21/2019           192 MINUTE ORDER (TEXT ONLY): The parties are hereby notified that 184 Plaintiffs'
                           Motion for Default Judgment has been improperly noticed before Senior District Senior
                           Judge William B. Shubb, and therefore, the 9/23/2019 hearing date is VACATED.
                           Pursuant to Local Rule *302(c)(19), this motion shall be heard before the assigned
                           Magistrate Judge, Edmund F. Brennan. The filer is instructed to contact Magistrate Judge
                           Brennan's courtroom clerk for an available hearing date. (Kirksey Smith, K) *Modified
                           on 8/21/2019 (Kirksey Smith, K). (Entered: 08/21/2019)
  08/21/2019           193 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 185 Memorandum in Support of Motion, 189
                                                                    ER-833
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                            24/30
4/2/2021            Case: 20-15029, 04/08/2021,      ID:
                                            LIVE 6.3.3   12069037,
                                                       CM/ECF             DktEntry:
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                           Declaration, 191 Proposed Order, 187 Declaration, 184 Motion for Default Judgment,
                           188 Declaration, 190 Declaration, 186 Declaration. (Zuckerman, Laura) (Entered:
                           08/21/2019)
  08/21/2019           194 NOTICE to RESCHEDULE HEARING on 184 Motion for Default Judgment : Motion
                           Hearing set for 9/25/2019 at 10:00 AM in Courtroom 8 (EFB) before Magistrate Judge
                           Edmund F. Brennan. (Zuckerman, Laura) (Entered: 08/21/2019)
  08/21/2019           195 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 194 Notice to Reschedule Hearing on Motion.
                           (Zuckerman, Laura) (Entered: 08/21/2019)
  09/18/2019           196 MOTION to INTERVENE and to VACATE DEFAULT by The Travelers Indemnity
                           Company. Attorney Potente, Alexander Eugene added. Motion Hearing set for
                           10/21/2019 at 01:30 PM before Senior Judge William B. Shubb. (Potente, Alexander)
                           Modified on 9/19/2019 (Huang, H). (Entered: 09/18/2019)
  09/18/2019           197 DECLARATION of Alexander E. Potente in support of 196 Motion to Intervene and to
                           Vacate Default. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D,
                           # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Potente, Alexander) Modified on 9/19/2019
                           (Huang, H). (Entered: 09/18/2019)
  09/18/2019           198 EX PARTE APPLICATION for Order to Continue 184 Motion for Default Hearing or for
                           Order Shortening Time for 196 Motion to Intervene and to Vacate Default Hearing by
                           The Travelers Indemnity Company. (Potente, Alexander) Modified on 9/19/2019 (Huang,
                           H). (Entered: 09/18/2019)
  09/19/2019           199 OPPOSITION by California Department of Toxic Substances Control, Toxic Substances
                           Control Account to 198 Ex Parte Application. (Zuckerman, Laura) (Entered: 09/19/2019)
  09/19/2019           200 DECLARATION of Laura J. Zuckerman re 199 Opposition to Motion. (Attachments: # 1
                           Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Zuckerman, Laura)
                           (Entered: 09/19/2019)
  09/19/2019           201 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 199 Opposition to Motion, 200 Declaration.
                           (Zuckerman, Laura) (Entered: 09/19/2019)
  09/19/2019           202 JOINDER by The Continental Insurance Company in re 196 Motion to Intervene and
                           Vacate Default filed by The Travelers Indemnity Company. Attorney Thorpe, Sara M.
                           added. (Thorpe, Sara) (Entered: 09/19/2019)
  09/19/2019           203 JOINDER by The Continental Insurance Company in re 198 Ex Parte Application.
                           (Thorpe, Sara) Modified on 9/20/2019 (Huang, H). (Entered: 09/19/2019)
  09/20/2019           204 REPLY by The Travelers Indemnity Company to 198 Ex Parte Application. (Potente,
                           Alexander) (Entered: 09/20/2019)
  09/20/2019           205 MOTION to INTERVENE and SET ASIDE DEFAULT by The Continental Insurance
                           Company. Motion Hearing set for 10/21/2019 at 01:30 PM in Courtroom 5 (WBS) before
                           Senior Judge William B. Shubb. (Attachments: # 1 Declaration, # 2 Exhibit)(Thorpe,
                           Sara) Modified on 9/23/2019 (Coll, A). (Entered: 09/20/2019)
  09/23/2019           206 MINUTE ORDER: Proposed Intervenor The Traveler Indemnity Company's Ex Parte
                           Application for an order to continue hearing on Pltfs' Motion for Default Judgment 196 is
                           GRANTED in part. The 9/25/2019 hearing re: Pltfs' Motion for Default Judgment 184 is
                           VACATED pending the resolution of the Motions to Intervene 196 , 205 . If necessary,
                           Pltfs' Motion for Default Judgment will be placed back on the Court's calendar via
                           Minute Order and the parties will be notified accordingly. Ordered by Magistrate Judge
                                                                    ER-834
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                             25/30
4/2/2021            Case: 20-15029, 04/08/2021,    ID:
                                          LIVE 6.3.3   12069037,
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                                                                            Court for Eastern   Page 227 of 231
                                                                                              California

                           Edmund F. Brennan on 9/23/2019. (Text only entry)(Cannarozzi, N) (Entered:
                           09/23/2019)
  09/23/2019           207 NOTICE of RELATED CASE 2:19-cv-01892 by The Travelers Indemnity Company.
                           (Potente, Alexander) (Entered: 09/23/2019)
  09/26/2019           208 ORDER RELATING CASES signed by Senior Judge William B. Shubb on 9/25/2019
                           ORDERING that cases 2:14-cv-0595 WBS EFB and 2:19-cv-1892 KJM AC are
                           RELATED. Case No. 2:19-cv-1892, is reassigned to District Judge William B. Shubb and
                           Magistrate Judge Edmund F. Brennan. (Becknal, R) (Entered: 09/26/2019)
  09/27/2019           209 NOTICE OF INTERESTED PARTIES by The Travelers Indemnity Company. (Potente,
                           Alexander) (Entered: 09/27/2019)
  10/03/2019           210 STIPULATION and PROPOSED ORDER for Continuance of Hearing re 205 Motion to
                           Intervene and to Set Aside Default by California Department of Toxic Substances
                           Control, Toxic Substances Control Account. (Zuckerman, Laura) (Entered: 10/03/2019)
  10/03/2019           211 EX PARTE REQUEST to CONTINUE Hearing on 196 Motion to Intervene and to
                           Vacate Default by California Department of Toxic Substances Control, Toxic Substances
                           Control Account. (Zuckerman, Laura) Modified on 10/4/2019 (York, M). (Entered:
                           10/03/2019)
  10/03/2019           212 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 211 Ex Parte Application, 210 Stipulation and
                           Proposed Order. (Zuckerman, Laura) (Entered: 10/03/2019)
  10/04/2019           213 STIPULATION and ORDER for continuance 210 signed by Senior Judge William B.
                           Shubb on 10/4/2019 resetting 205 The Continental Insurance Company's Motion to
                           Intervene and to Set Aside Default for 12/2/2019 at 01:30 PM in Courtroom 5 (WBS)
                           before Senior Judge William B. Shubb. *Because the Travelers Indemnity Company does
                           not join in the stipulation to continue the hearing, the hearing on its motion to intervene
                           and vacate the default remains set for 10/21/2019. (Kirksey Smith, K) *Modified on
                           10/4/2019 (Kirksey Smith, K). (Entered: 10/04/2019)
  10/04/2019           214 OPPOSITION by Intervenor The Travelers Indemnity Company to 211 Ex Parte
                           Application. (Attachments: # 1 Declaration, # 2 Exhibit A)(Potente, Alexander) (Entered:
                           10/04/2019)
  10/07/2019           215 OPPOSITION by California Department of Toxic Substances Control, Toxic Substances
                           Control Account to 196 Motion to Intervene and Vacate Default. (Attachments: # 1
                           Declaration, # 2 Proof of Service)(Zuckerman, Laura) (Entered: 10/07/2019)
  10/11/2019           216 REPLY in support of 196 Motion to Intervene by The Travelers Indemnity Company.
                           (Potente, Alexander) Modified on 10/15/2019 (Huang, H). (Entered: 10/11/2019)
  10/17/2019           217 MOTION to INTERVENE as Alleged Insurer of Defendant Collins & Aikman Products,
                           LLC and to VACATE DEFAULT. Attorney Constantinides, Stratton P. added. Motion
                           Hearing set for 12/2/2019 at 01:30 PM in Courtroom 5 (WBS) before Senior Judge
                           William B. Shubb. (Attachments: # 1 Declaration)(Constantinides, Stratton) Modified on
                           10/18/2019 (Huang, H). (Entered: 10/17/2019)
  10/18/2019           218 JOINDER by Allstate Insurance Company re 196 Motion to Intervene. Attorney
                           Quintero, Maria S. added. (Attachments: # 1 Memorandum)(Quintero, Maria) Modified
                           on 10/21/2019 (Coll, A). (Entered: 10/18/2019)
  10/18/2019           219 CORPORATE DISCLOSURE STATEMENT by Intervenor Defendant Allstate Insurance
                           Company. (Quintero, Maria) (Entered: 10/18/2019)

                                                                    ER-835
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                             26/30
4/2/2021     Case: 20-15029, 04/08/2021,       ID:
                                      LIVE 6.3.3   12069037,
                                                 CM/ECF             DktEntry:
                                                        - U.S. District             19-5,
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                                                                                          California

  10/21/2019   220 MINUTES (Text Only) for proceedings before Senior Judge William B. Shubb:
                    MOTION HEARING held on 10/21/2019 re 196 The Travelers Indemnity Company's
                    Motion to Intervene and to Vacate Default. Counsel argue. MOTION SUBMITTED. The
                    Court shall issue a separate order. Plaintiffs' Counsel Laura Zuckerman present.
                    Defendants' Counsel Alex Potente present; Intervenor's Counsel: Maria Quintero present.
                    Court Reporter: Vicki Britt (Diamond). (Kirksey Smith, K) (Entered: 10/21/2019)
  10/22/2019           221 ORDER signed by Senior Judge William B. Shubb on 10/22/2019 DENYING 196
                           Traveler's Motion to Intervene. (Kirksey Smith, K) (Entered: 10/22/2019)
  11/04/2019           222 MOTION to INTERVENE and to VACATE DEFAULT by Allianz Underwriters
                           Insurance Company. Attorney Constantinides, Stratton P. added. Motion Hearing set for
                           12/2/2019 at 01:30 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           (Attachments: # 1 Declaration)(Constantinides, Stratton) Modified on 11/5/2019 (York,
                           M). (Entered: 11/04/2019)
  11/08/2019           223 TRANSCRIPT REQUEST by California Department of Toxic Substances Control, Toxic
                           Substances Control Account for proceedings held on 10/21/19 before Judge William B.
                           Shubb. Court Reporter Diamond Court Reporters. (Zuckerman, Laura) (Entered:
                           11/08/2019)
  11/11/2019           224 TRANSCRIPT REQUEST by Travelers for proceedings held on 10/21/19 before Judge
                           William B. Shubb. Court Reporter Diamond Court Reporters. (Constantinides, Stratton)
                           Modified on 11/12/2019 (Benson, A.). (Entered: 11/11/2019)
  11/15/2019           225 ASSOCIATION of ATTORNEY: Added attorney Timothy Martin Thornton for
                           California Department of Toxic Substances Control,Timothy Martin Thornton for Toxic
                           Substances Control Account. (Thornton, Timothy) (Entered: 11/15/2019)
  11/18/2019           226 TRANSCRIPT of Motion to Intervene and to Vacate Default held on October 21, 2019,
                           before Senior Judge William B. Shubb, filed by Diamond Court Reporters, Phone number
                           916-498-9288. Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                           Request Redaction must be filed within 5 court days. Redaction Request due 12/9/2019.
                           Redacted Transcript Deadline set for 12/19/2019. Release of Transcript Restriction set for
                           2/18/2020. (Rivas, A) (Entered: 11/18/2019)
  11/18/2019           227 OPPOSITION by California Department of Toxic Substances Control, Toxic Substances
                           Control Account to 205 Motion to Intervene, 217 Motion to Intervene, 222 Motion to
                           Intervene. (Zuckerman, Laura) (Entered: 11/18/2019)
  11/18/2019           228 DECLARATION of Laura Zuckerman in opposition to 205 Motion to Intervene, 217
                           Motion to Intervene, 222 Motion to Intervene. (Attachments: # 1 Exhibit A, # 2 Exhibit
                           B)(Zuckerman, Laura) (Entered: 11/18/2019)
  11/18/2019           229 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 227 Opposition to Motion, 228 Declaration.
                           (Zuckerman, Laura) (Entered: 11/18/2019)
  11/25/2019           230 REPLY by Allianz Underwriters Insurance Company re 227 Opposition to Motion.
                           (Constantinides, Stratton) (Entered: 11/25/2019)
  11/25/2019           231 REPLY by The Continental Insurance Company re 227 Opposition to Motion. Attorney
                           Constantinides, Stratton P. added. (Constantinides, Stratton) (Entered: 11/25/2019)
  11/25/2019           232 REPLY by Century Indemnity Company re 227 Opposition to Motion. (Constantinides,
                           Stratton) (Entered: 11/25/2019)

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https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                             27/30
4/2/2021     Case: 20-15029, 04/08/2021,    ID:
                                   LIVE 6.3.3   12069037,
                                              CM/ECF             DktEntry:
                                                     - U.S. District             19-5,
                                                                     Court for Eastern   Page 229 of 231
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  11/27/2019   233 NOTICE OF INTERESTED PARTIES by Proposed Intervenor The Continental
                    Insurance Company. (Thorpe, Sara) Modified on 12/3/2019 (Benson, A.). (Entered:
                    11/27/2019)
  12/02/2019           234 NOTICE OF INTERESTED PARTIES by Proposed Intervenor Century Indemnity
                           Company. (Constantinides, Stratton) Modified on 12/3/2019 (Benson, A.). (Entered:
                           12/02/2019)
  12/02/2019           235 NOTICE OF INTERESTED PARTIES by Proposed Intervenor Allianz Underwriters
                           Insurance Company. (Constantinides, Stratton) Modified on 12/3/2019 (Benson, A.).
                           (Entered: 12/02/2019)
  12/02/2019           236 MINUTES (Text Only) for proceedings before Senior Judge William B. Shubb:
                           MOTION HEARING held on 12/2/2019 re Proposed Intervenor The Continental
                           Insurance Company's 205 Motion to Intervene and to Set Aside Default, Proposed
                           Intervenor Century Indemnity Company's 217 Motion to Intervene and Proposed
                           Intervenors Allianz Underwriters Insurance Company's, Chicago Insurance Company's
                           and Fireman's Fund Insurance Company's 222 Motion to Intervene and to Vacate Default.
                           Counsel argue. MOTION SUBMITTED. The Court shall issue a separate order. Counsel
                           for Plaintiffs: Laura Zuckerman and Timothy Thornton present. Counsel for Proposed
                           Intervenors Allianz Underwriters Insurance Company, Chicago Insurance Company and
                           Fireman's Fund Insurance Company: Thomas Vandenburg present. Counsel for Proposed
                           Intervenor The Continental Insurance Company: Randall Berdan present. Court Reporter:
                           Kacy Barajas. (Michel, G.) (Entered: 12/02/2019)
  12/04/2019           237 ORDER signed by Senior Judge William B. Shubb on 12/3/2019 DENYING the motions
                           to intervene and vacate default filed Continental (Docket No. 205 ), Century(Docket No.
                           217 ), and Allianz (Docket No. 222 ). (Becknal, R) (Entered: 12/04/2019)
  12/18/2019           238 MINUTE ORDER: Plaintiffs' California Department of Toxic Substances Control and the
                           Toxic Substances Control Account Motion for Default Judgment 184 is ordered set for
                           hearing on 1/29/2020 at 10:00 AM in Courtroom 8 (EFB) before Magistrate Judge
                           Edmund F. Brennan. Ordered by Magistrate Judge Edmund F. Brennan on 12/18/2019.
                           (Text only entry)(Cannarozzi, N) (Entered: 12/18/2019)
  12/18/2019           239 MINUTE ORDER: (TEXT ONLY): The Court hereby orders a Status Conference Re
                           Further Proceedings set for 3/2/2020 at 01:30 PM in Courtroom 5 (WBS) before Senior
                           Judge William B. Shubb. A joint status report shall be filed no later than 2/18/2020.
                           (Kirksey Smith, K) (Entered: 12/18/2019)
  12/23/2019           240 TRANSCRIPT REQUEST by Century Indemnity Company for proceedings held on
                           12/2/19 before Judge William B. Shubb. Court Reporter Kacy Barajas. (Constantinides,
                           Stratton) (Entered: 12/23/2019)
  01/03/2020           241 NOTICE of APPEAL by The Continental Insurance Company as to 237 Order on Motion
                           to Intervene,,. (Filing fee $ 505, receipt number 0972-8649608) (Constantinides, Stratton)
                           (Entered: 01/03/2020)
  01/06/2020           242 APPEAL PROCESSED to Ninth Circuit re 241 Notice of Appeal filed by the Continental
                           Insurance Company. Notice of Appeal filed *1/3/2020*, Complaint filed *3/3/2014* and
                           Appealed Order/Judgment filed *12/4/2019*. Court Reporter: *K. Barajas, V. Britt,*.
                           *Fee Status: Paid on 1/3/2020 in the amount of $505.00* (Attachments: # 1 Appeal
                           Information) (Becknal, R) (Entered: 01/06/2020)
  01/08/2020           243 USCA CASE NUMBER 20-15029 for 241 Notice of Appeal filed by The Continental
                           Insurance Company. (Donati, J) (Entered: 01/08/2020)
  01/17/2020           244 MOTION to STAY by Allianz Underwriters Insurance Company, Century Indemnity
                                                                    ER-837
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                            28/30
4/2/2021            Case: 20-15029, 04/08/2021,      ID:
                                            LIVE 6.3.3   12069037,
                                                       CM/ECF             DktEntry:
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                           Company, The Continental Insurance Company. Motion Hearing set for 2/24/2020 at
                           01:30 PM in Courtroom 5 (WBS) before Senior Judge William B. Shubb.
                           (Constantinides, Stratton) (Entered: 01/17/2020)
  01/23/2020           245 TRANSCRIPT of Proceedings, Motions to Intervene held on December 2, 2019, before
                           Senior Judge William B. Shubb, filed by Court Reporter Kacy Barajas, Phone number
                           916-426-7640 E-mail kbarajas.csr@gmail.com. Transcript may be viewed at the court
                           public terminal or purchased through the Court Reporter/Transcriber before the deadline
                           for Release of Transcript Restriction. After that date it may be obtained through PACER.
                           Any Notice of Intent to Request Redaction must be filed within 5 court days. Redaction
                           Request due 2/13/2020. Redacted Transcript Deadline set for 2/24/2020. Release of
                           Transcript Restriction set for 4/23/2020. (Barajas, K) (Entered: 01/23/2020)
  01/23/2020           246 MINUTE ORDER: In light of the pending Motion to Stay 244 the 1/29/2020 hearing re:
                           Plaintiffs' California Department of Toxic Substances Control and the Toxic Substances
                           Control Account Motion for Default Judgment 184 is ordered CONTINUED to 3/4/2020
                           at 10:00 AM in Courtroom 8 (EFB) before Magistrate Judge Edmund F. Brennan.
                           Ordered by Magistrate Judge Edmund F. Brennan on 1/23/2020. (Text only entry)
                           (Cannarozzi, N) (Entered: 01/23/2020)
  02/03/2020           247 TRANSCRIPT REQUEST by Allianz Underwriters Insurance Company, Century
                           Indemnity Company, The Continental Insurance Company for proceedings held on
                           12/2/19 before Judge William B. Shubb. Court Reporter Kacy Barajas. (Constantinides,
                           Stratton) (Entered: 02/03/2020)
  02/10/2020           248 OPPOSITION to 244 Motion to Stay by California Department of Toxic Substances
                           Control, Toxic Substances Control Account. (Attachments: # 1 Declaration)(Zuckerman,
                           Laura) Modified on 2/10/2020 (York, M). (Entered: 02/10/2020)
  02/10/2020           249 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 248 Opposition to Motion. (Zuckerman, Laura)
                           (Entered: 02/10/2020)
  02/11/2020           250 TRANSCRIPT REQUEST by California Department of Toxic Substances Control, Toxic
                           Substances Control Account for proceedings held on 12/02/19 before Judge William B.
                           Shubb. Court Reporter Kacy Barajas. (Zuckerman, Laura) (Entered: 02/11/2020)
  02/14/2020           251 REPLY by Century Indemnity Company re 248 Opposition to Motion. (Constantinides,
                           Stratton) (Entered: 02/14/2020)
  02/18/2020           252 STATUS REPORT by California Department of Toxic Substances Control, Toxic
                           Substances Control Account. (Zuckerman, Laura) (Entered: 02/18/2020)
  02/19/2020           253 CERTIFICATE of SERVICE by California Department of Toxic Substances Control,
                           Toxic Substances Control Account re 252 Status Report. (Zuckerman, Laura) (Entered:
                           02/19/2020)
  02/24/2020           254 MINUTES (Text Only) for proceedings before Senior Judge William B. Shubb:
                           MOTION HEARING held on 2/24/2020 re 244 Proposed Intervenors' Motion to Stay
                           Pending Appeal. Counsel argue. MOTION SUBMITTED. The Court shall prepare and
                           issue a separate order. Plaintiffs' Counsel Laura Zuckerman present. Proposed
                           Intervenors's Counsel Thomas Vandenburg present. Court Reporter: Kimberly Bennett.
                           (Kirksey Smith, K) (Entered: 02/24/2020)
  02/26/2020           255 ORDER signed by Senior Judge William B. Shubb on 02/25/20 STAYING case;
                           VACATING 03/02/20 status conference. (Benson, A.) (Entered: 02/26/2020)
  02/26/2020           256 MINUTE ORDER: In light of the Court's Order 255 staying this matter pending the
                           Proposed Intervenors' appeal, the Clerk is directed to administratively terminate
                                                                    ER-838
https://ecf.caed.uscourts.gov/cgi-bin/DktRpt.pl?973719533880454-L_1_0-1                                             29/30
4/2/2021            Case: 20-15029, 04/08/2021,       ID:
                                             LIVE 6.3.3   12069037,
                                                        CM/ECF             DktEntry:
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                           Plaintiff's Motion for Default Judgment 184 . Counsel for Plaintiff may re-notice their
                           motion for default judgment after the stay has been lifted. Ordered by Magistrate Judge
                           Edmund F. Brennan on 2/26/2020. (Text only entry) (Cannarozzi, N) (Entered:
                           02/26/2020)
  10/01/2020           257 ORDER by Chief Judge Kimberly J. Mueller: The Court having considered the equitable
                           division and efficient and economical determination of court business, hereby reassigns
                           this case from Magistrate Judge *Edmund F. Brennan* to *Magistrate Judge Jeremy D.
                           Peterson* for all further proceedings. As of October 1, 2020, Magistrate Judge Jeremy D.
                           Peterson is reassigned to the Sacramento Division of the Eastern District of California.
                           (Zignago, K.) (Entered: 10/01/2020)



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                                   Billable
                                                  27                                 Cost:    2.70
                                   Pages:




                                                                    ER-839
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